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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT
                                        Hartford Division

Rahulkumar M Patel,

M7 Investment Fund I LLC, a New Jersey
limited liability company,                                Civil Action No.: _ _ _ _ _ __

DNA Lodging LLC, a Connecticut                            Jury Demand -YES
limited liability company,

DNA 789 CT AVE LLC, a Connecticut                  Sealed Motion due to Medically Condition
limited liability company,

Plaintiff,

v.

Mount Street US LLP,
a Georgia Foreign Limited Liability Partnership,

CWCapital Asset Management LLC,
a Delaware limited liability company,

789 Connecticut Avenue Holdings, LLC
a Connecticut limited liability company,

Wilmington Trust, National Association,
as Trustee, for the benefit of the Holders of
COMM 2015-CCRE23 Mortgage Trust,
Commercial Mortgage Pass Through Certificates,

Darshan Gandhi,

Nirav Patel,

Amit Shah,

Defendants.
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                                        COMPLAINT FOR A CIVIL CASE
                                      ALLEGING BREACH OF CONTRACT
                                  (28 U.S.C. § 1332; Diversity of Citizenship)




                             I.        The Parties to This Complaint

The Plaintiffs


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DNA 789 CT AVE LLC
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The Defendants


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                             II.      JURISDICTION AND VENUE




Plaintiff Rahulkumar M. Patel ("Rahul" or "I"), who is a permanent resident of the State of Connecticut, is

the sole member of a M7 Investment Fund I LLC and is the sole member of a DNA Lodging LLC.

Plaintiff M7 Investment Fund I LLC ("M7") is a New Jersey limited liability company.

Plaintiff DNA Lodging LLC ("DNA") is a Connecticut limited liability company.

Plaintiff DNA 789 CT AVE LLC ("DNA 789") is a Connecticut limited liability company.




Defendant Mount Street US LLP ("MSU") is a Georgia foreign limited liability partner and is domiciled in

United Kingdom.

Defendant CWCapital Asset Management LLC is a Delaware limited liability company.

Defendant CWCapital LLC is a Delaware limited liability company.

CWCapital Asset Management LLC and CWCapital LLC will be called CW.

Defendant 789 Connecticut Avenue Holdings, LLC ("Seller") is a Connecticut limited liability company.

Defendant Wilmington Trust, National Association, as Trustee, for the benefit of the Holders of COMM

2015-CCRE23 Mortgage Trust, Commercial Mortgage Pass Through Certificates ("Wilmington"), is a

Delaware limited liability company.

Defendant Darshan Gandhi ("Darshan"), who is a citizen of the state of Massachusetts.

Defendant Nirav Patel (" Nirav"), who is a citizen of the state of Arizona.

Defendant Amit Shah ("Amit"), who is a citizen of the state of Indiana.

This Court has subject-matter jurisdiction over this dispute under 28 U.S.C. 1332, because it involves the

citizens of a state (Connecticut) and the amount in controversy exceeds $75,000.

Venue in this district is proper because the state is in Connecticut.
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                                    Ill.   Statement of Claim

                                                 Summary

                                 June 1, 2019 Day Time, Rahul is working.

        DNA won the deal and was signed on 5/3/19 and close by 7/17 /19 or faster. The First American

had a escrow account until the 45 days passed, so about 16 days on June 17, 2019, and Seller would get

the deposit. The loan is ready with deposit on May 31, 2019. I did a FedEx and will be done in about 30

days but we plan on July 1, 2019.

        The investors were getting ready too with RealCrowd (crowd funding) approved for our 2nd deal

and Yam Capital with a loan.

        We had plenty of time with a July 17, 2019 close deadline. A Purchase and Sale Agreement price

of $15,500,000.00.

        The Ten-X auction is on April 3, 2023, today, through April 5, 2023 and a temporary restraining

order is necessary.

                             June 1, 2019 Evening, Rahul is about to go stroke:

        I arrived at a friend's house at around 6pm and all of our close families are there. At about

6:20pm I suffered a stroke but didn't know that a June 13, 2019. I was told that I was up and down until

June 13, 2019.

                 June 1, 2019 through June 11, 2019, Rahul was sleeping due to the stroke.

        Pratiksha called a friend and CW, Rakesh Patel ("Rakesh"), on June 3, 2019 or so. He was told

that Rahul suffered a stroke. Rakesh said let's not call CW because maybe Rahul may wake up. This is a

top employee at CW and he said let's not call. June 17, 2019 is the expiration of Due Diligence. Then on

June 10 or 11, she said Rahul is still not up. So, Rakesh said okay and I should now tell them, CW, that

Rahul is suffered a stroke. Then later of June 10 or 11,·Pratiksha faxed a signed but moving the house to
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her parents, she lost the document. Then on June 11, 2019, the partner Darshan Gandhi and CW signed

the Termination.

                                                      Overview

        But Pratiksha was my girlfriend but not wife and that was wrong. And Rakesh knew that she is a

girlfriend since 2009 at least and because we talked about it at his home at East Rockaway, NY (probably

couple times afterwards). And on May 28, 2019, Darshan Gandhi and I opened a company called DNA

789 and we both agreed and agreement, oral written, until we put it on written. Then I suffered a stroke

on about 6:15pm on June 1, 2019. Also, by the Due Diligence deadline of June 17, 2019, my dad,

Manherlal Patel would have a Managing Director for himself and then got an attorney-in-fact for me, so

we had 30 days to close on July 17, 2019.

        In 2019, Rahul, through his company DNA, attempted to purchase the DoubleTree by Hilton

Hotel Norwalk in Connecticut. On May 3, 2019, DNA entered into a purchase and sale agreement ("PSA")

with 789 Connecticut Avenue Holdings, LLC.

        The members of DNA are M7, Darshan Gandhi, Amit Shah, and Nirav Patel. The Seller is owned

by Wilmington Trust for the benefit of the 2014-CCRE23 Mortgage Trust, and its "special servicer" is

CWCapital Asset Capital Management LLC.

        On June 1, 2019, according to the terms of the PSA, Rahul had 16 days to complete due diligence

and then 30 days to close the deal or July 17, 2019

        With the loan secured, he was about 30 days from closing. Additionally, on May 7, 2019,

Realcrowd approved DNA for the second time, which would have allowed DNA to attract investors in a

few weeks.

        However, on June 1, 2019, Rahul suffered a stroke. As a result, Darshan Gandhi, another

manager of DNA, cancelled the deal. But Darshan was agreed that DNA 789 that I and Darshan agreed

that DNA and PSA would be set towards DNA 789. Darshan and I agreed that DNA 789 to be now control
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of DNA and PSA. On May 28, 2019, Darshan and I said by oral until we are written. But I suffered a

stroke on June 1, 2019.

          Each member of DNA was trying to put together real estate acquisition deals, in which they

would also find investors to finance the acquisition, and then present the deal to the other DNA

members who could either join the deal or let the partner proceed with the deal individually. This is

what happened with the deal on the Hartford hotel and the DNA deal was the second deal. I did both

deals and all four partners, Darshan, Nirav, Amit and Rahul (me) were still the partners for their credit,

investors, etc. Hartford deal was, after fees to other partners. was effectively mine. This is what

happened, but stroke stop me, and a fraud began.

          I would have paid the total purchase price without them, Darshan, Nirav and Amit but I got a

stroke.

          With RealCrowd was ready after approved for second deal, like Hartford deal, the DNA with

investors were ready. But I got stroke, and the Seller and Darshan got the Termination. This was a fraud

because Seller and Rakesh knew about 2009 showing them, I am single and not a husband. Pratiksha

should know she was single too. She now knows and files head of household.

          However, Darshan and Rakesh conspired to have Pratiksha execute the termination notice and

then DNA (via Darshan) ratify it. I told me that she, Pratiksha, signed deposit on 6/10/2019 but now

stroke on June 1, 2019. At Termination, Darshan and CW signed but its fraud.

          It is alleged that the cancellation was due to fraud and misconduct by the defendants, "special

servicer" CW, and other parties involved in the transaction.

          The plaintiff, Rahul, alleges that the defendants engaged in fraudulent behavior by cancelling the

deal and breaching the PSA without a valid reason .

          The evidence points to this fraudulent intent to be that the website for DNA was taken down by

three partners of DNA and the Seller had two bids on the property after the termination. Ultimately,
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Seller still owns the property but my investors in Hartford and potential investor for DNA got "spooked'.

That's why Darshan, Nirav and Amit are fraud.

        Because Rakesh and CW knew, Darshan could not sign on behalf of DNA without my approval,

and that he did not have it. DNA 789 would not allow the Termination but it did because ,Darshan, he

ignoring it. Manherlal Patel would have a Managing and attorney-by-fact for me from the 6 days (June

11, 2019 through June 17, 2019) but the Termination already happened. The Seller and the partners

didn't give me time and on June 11, 2019 sign Termination but 6 days on June 17, 2019 was still open

when it was Termination on June 11, 2019. That's why it is fraud.

        CW and MSU both authorized to be special servicer. First CW and then about late 2021 it

became MSU. The owner, Wilmington, is still owner but will auction on April 3, 2023 and end it with a

winner on April 5, 2023. A temporary restraining order, preliminarily, and permanently was be another

letter on April 3, 2023 as well.

        This action caused damages to Rahul, including the loss of opportunity to acquire the

DoubleTree by Hilton Hotel Norwalk. As a result, Rahul is seeking compensation for damages caused by

the defendants' actions.

                                    Statute of Limitation and Covid-19

        The 3 years statute of limitation was tolled by Covid-19. The Governor Ned Lamont had tolled

the statute of limitation and was to start on March 10, 2020 and end on March 1, 2021 or 347 days. So

the 3 years statute of limitation plus a Covid-19 of 347 days gives me enough days to expiration of May

13, 2023. Also, a 6 year statute of limitation is by May 14, 2026. See at Taylor v. Pillai on 9/6/2022.



                              Stroke and Appointed for Pro Bono Counsel



I am still about halfway after the stroke and my doctor neurologist has seen the progress but not even

close to 100%. Dr. Derek Cheng, the neurologist, said he doesn't know if I will get 100% of language.
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The aphasia is the condition I've had since June 1, 2019. I needed an appointed for pro bona for this

case.

        The court decided that an appointment for pro bona is necessary in a difference case. SEC v.

Rahulkumar M. Patel on 8/15/22 by #34. I am denying on the case 3:21-cv-00994-SVN:

                    •   "ORDER VACATING IN PART 24 AND APPOINTING PRO BONO COUNSEL. In its

                        previous Order, the Court denied Defendant's request for an appointment of pro

                        bona counsel on the ground that Defendant had not demonstrated the likely

                        merit of his defense. ECF No. 24 at 5-8. After vacating the default entry, the

                        Court directed the parties to file their Rule 26(f) Report, which they have done.

                        After reviewing the report, the Court finds grounds on which to sua sponte

                        reconsider its denial of Defendant's request for pro bona counsel and appoint

                        him pro bona counsel.




                        "A motion for reconsideration is committed to the sound discretion ofthe

                        court." Kregos v. Latest Line, Inc., 951 F. Supp. 24, 26 (D.Conn. 1996). In general,

                        the three grounds justifying reconsideration are "an intervening change of

                        controlling law, the availability of new evidence, or the need to correct a clear

                        error or prevent manifest injustice." Virgin Atl. Airways, Ltd. v. Nat'I Mediation

                        Bd., 956 F.2d 1245, 1255 (2d Cir.) (internal quotation marks omitted), cert.

                        denied, 506 U.S. 820 (1992).




                        Upon review of the parties' Rule 26(f) Report, ECF No. 30, it became clear to the

                        Court that the parties had significant difficulty proposing a schedule of discovery

                        on account of Defendant's difficulties communicating. The Court ordered
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           Defendant to file a letter from his physician following an appointment

           referenced in the Report, which Defendant did at ECF No. 32 . The letter

           indicates that Defendant continues to suffer a medical condition "affecting his

           ability to speak and understand language," stemming from a stroke he

           experienced in 2019. ECF No. 32 at 3.




           The Rule 26(f) Report and this letter together constitute new evidence justifying

           reconsideration of the Court's denial of Defendant's earlier request for pro bono

           counsel. Specifically, the Second Circuit has sustained a district court's

           reconsideration of any ruling in which the court overlooked evidence "that might

           reasonably be expected to alter the conclusion reached by the court." Shrader v.

           CSX Transp., Inc., 70 F.3d 225, 257 (2d Cir. 1995). Although this is a "strict"

           standard, id. at 256, the Court finds it satisfied here. The Court's initial ruling

           represented that Defendant had not elaborated on the severity of his

           impairments or how those impairments impacted his ability to defend the case.

           ECF No. 24 at 7. However, the nature and severity of Defendant's impairments

           have now been made apparent from the parties' Rule 26(f) Report and

           Defendant's most recent letter from his physician. Most importantly, Defendant

           appears unable to communicate with opposing counsel on matters as basic as

           scheduling, due to his medical condition. Accordingly, his ability to defend the

           case is severely impacted. See Tinaway v. Merrill Lynch & Co., 661 F. Supp. 937,

           940 (S.D.N.Y. May 20, 1987) (appointing counsel where the litigant was a

           "seventy eight year old stroke victim who is virtually deaf and who has difficulty

           walking"). The complexity of the securities fraud claims raised against him
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           further counsels in favor of appointing counsel. Finally, the Court acknowledges

           its previous reasoning that Defendant's Answer, ECF No. 23 , was insufficient to

           apprise the Court as to the strength of his defense. ECF No. 24 at 6. However,

           given the apparent severity of Defendant's medical condition and its observable

           impact on his ability to communicate, it appears clear that Defendant will be

           unable to demonstrate the likely merit of any defenses absent assistance from

           counsel. Thus, the Court concludes that the only way to prevent manifest

           injustice in this case is to appoint pro bona counsel. See Dingwell v. Cossette,

           No. 3:17-CV-1531 (KAD), 2021 WL413619, at *1 (D. Conn. Feb. 5, 2021) ("In the

           context of a motion for reconsideration, 'manifest injustice' is defined as an

           error committed by the trial court that is direct, obvious, and observable."

           (citation and internal quotation marks omitted)).




           Accordingly, the Court hereby vacates that part of its ruling denying Defendant's

           request for pro bona counsel at ECF No. 24 . Furthermore, the Court grants

           Defendant's prior request for an appointment of pro bona counsel. The Clerk is

           directed to appoint pro bona counsel for Defendant. Within 30 days after

           appointment of pro bona counsel, Defendant shall file a notice confirming that

           pro bona counsel has conferred with his or her client and indicating whether

           Defendant requests to file an amended pleading. Within 45 days after

           appointment of pro bona counsel, the parties shall file a second amended Rule

           26(f) Report.
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                              Signed by Judge Sara la V. Nagala on 8/15/2022. (Rennie, Carolyn) (Entered:

                              08/15/2022)"




                                                     LEGAL STANDARDS

                 Fraud: Fraud is the intentional misrepresentation or concealment of a material fact, made

    with knowledge of its falsity and with the intent to deceive another party, which causes the other party

    to suffer damages. In order to establish fraud, the plaintiff must prove the defendant's intent, knowledge

    of falsity, justifiable reliance, and damages.

              Breach of Contract: A breach of contract occurs when one party fails to perform its obligations

under a valid and enforceable contract. To establish a breach of contract, the plaintiff must prove the

existence of a valid contract, the defendant's failure to perform its obligations under the contract, and

damages resulting from the breach.

              Conspiracy: Conspiracy is a combination of two or more persons to do an unlawful act or to do a

lawful act by unlawful means. To establish a conspiracy, the plaintiff must prove the existence of an

agreement between two or more persons, an unlawful objective, and an overt act in furtherance of the

conspiracy.

              Negligent Misrepresentation: Negligent misrepresentation occurs when a party makes a false

statement negligently or without a reasonable basis for believing it to be true, and the other party

reasonably relies on the false statement to its detriment. To establish negligent misrepresentation, the

plaintiff must prove the defendant's negligent or reckless misrepresentation, justifiable reliance, and

damages.

              Unjust Enrichment: Unjust enrichment occurs when one party has received a benefit from

another party without justification, and it would be inequitable for the recipient to retain the benefit. To ·

establish unjust enrichment, the plaintiff must prove that the defendant received a benefit, the plaintiff
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conferred the benefit, and it would be inequitable for the defendant to retain the benefit without

compensating the plaintiff.

                                               IV.      Relief

                                     First Cause of Action - Breach of Contract

            The defendants, including the Seller and its "special servicer" CW, breached the purchase and

    sale agreement by cancelling the deal without a valid reason. This breach caused the plaintiff, Rahul, to

    suffer damages, including the loss of his deposit and the opportunity to acquire the DoubleTree by Hilton

    Hotel Norwalk. Celtech Network Sys. Corp. v. Louis Castle, 647 F.3d 773 (9th Cir. 2011): In this case, the

    plaintiff alleged that the defendant had breached a contract by canceling a software development

    project without a valid reason. The court held that the defendant had breached the contract and

   awarded damages to the plaintiff. Cox v. Zale Delaware, Inc., 239 F.3d 910 (5th Cir. 2001): In this case, the

    plaintiff alleged that the defendant had breached a contract by canceling a lease agreement without a

   valid reason. The court held that the defendant had breached the contract and awarded damages to the

    plaintiff. Hanson v. M/V NIKKEi MERM AID, 421 F. Supp. 1099 (S.D. Ala. 1976): In this case, the plaintiff

   alleged that the defendant had breached a contract by canceling a shipbuilding contract without a valid

    reason. The court held that the defendant had breached the contract and awarded damages to the

    plaintiff. Kirschenba um v. Berenson, 158 F. Supp. 2d 330 (S.D.N.Y. 2001): In this case, the plaintiff alleged

   that the defendant had breached a contract by failing to deliver certain artwork as agreed. The court

    held that the defendant had breached the contract and awarded damages to the plaintiff.

                                          Second Cause of Action - Fraud

            The defendants engaged in fraudulent misrepresentation by inducing the plaintiff, Rahul, to

   enter into the purchase and sale agreement with false promises of a successful acquisition. The

   defendants knew or should have known that the acquisition would not be successful due to their own

   actions, including cancelling the deal without a valid reason. United States ex rel. Kester v. Novartis
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Pharm. Corp., 43 F. Supp. 3d 560 (S.D.N.Y. 2014): In this case, the plaintiff alleged that the defendant had

made false representations to the government about the efficacy of a drug in order to obtain Medicare

and Medicaid reimbursement. The court held that the defendant had committed fraudulent

misrepresentation and awarded damages to the government. U.S. ex rel. Anti-Discrimination Ctr. of

Metro N.Y.• Inc. v. Westchester Cty. , 798 F. Supp. 2d 553 (S.D.N.Y. 2011): In this case, the plaintiff alleged

that the defendant had made false representations to the government about its compliance with fair

housing laws in order to obtain federal funding. The court held that the defendant had committed

fraudulent misrepresentation and awarded damages to the plaintiff. Allstate Ins. Co. v. Plambeck, 802 F.

Supp. 2d 997 (D. Neb. 2011): In this case, the plaintiff alleged that the defendant had breached a

contract by failing to disclose material information about a property before the plaintiff purchased it. The

court held that the defendant had breached the contract and awarded damages to the plaintiff. Cont'I

Cas. Co. v. Advance Polymer Techs. , Inc., 304 F. Supp. 3d 1193 (D. Kan. 2018): In this case, the plaintiff

alleged that the defendant had made false representations about the quality of its products in order to

induce the plaintiff to enter into a contract. The court held that the defendant had committed fraudulent

misrepresentation and awarded damages to the plaintiff. Wakes v. Arthur Murra½ Inc., 212 N.Y.S.2d 465

(N.Y. Sup. Ct. 1961): In this case, the plaintiff alleged that the defendant induced him to enter into a

contract by making false representations about the quality of the defendant's dance lessons. The court

held that the defendant had committed fraudulent misrepresentation and awarded damages to the

plaintiff. Delta Consulting Grp., Inc. v. R. Randle Const.. Inc .• 554 F.3d 1133 (10th Cir. 2009): In this case,

the plaintiff alleged that the defendant breached a contract by canceling a construction project without a

valid reason. The court held that the defendant had breached the contract and awarded damages to the

plaintiff. First Nat'I Bank of Omaha v. Dep't of Revenue of Neb., 742 N.W.2d 893 (Neb. 2007): In this case,

the plaintiff alleged that the defendant induced it to enter into a contract by making false

representations about the legality of certain credit card fees. The court held that the defendant had
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committed fraudulent misrepresentation and awarded damages to the plaintiff. Sauer v. Schenectady

Pubs., Inc., 304 A.D.2d 955 (N.Y. App. Div. 2003): In this case, the plaintiff alleged that the defendant

induced him to enter into a contract by making false representations about the profitability of a bar. The

court held that the defendant had committed fraudulent misrepresentation and awarded damages to

the plaintiff. Muniz v. United Parcel Service, Inc., 236 Conn. 758 (1996): In this case, the Connecticut

Supreme Court held that a plaintiff must prove the following elements to establish a claim for fraudulent

misrepresentation: (1) a false representation was made as a statement of fact; (2) the representation

was material and induced the plaintiff to act; (3) the representation was made with knowledge of its

falsity or reckless disregard for its truth or falsity; and (4) the plaintiff relied on the representation and

suffered damages as a result.

                                     Third Cause of Action - Conspiracy

        The defendants conspired to defraud the plaintiff, Rahul, by engaging in fraudulent behavior and

breaching the purchase and sale agreement. The defendants acted in concert with each other to achieve

their unlawful objectives and caused the plaintiff to suffer damages as a result. General Statutes of

Connecticut § 52-568: This statute provides that a plaintiff may bring a civil action against two or more

persons who have conspired to commit an unlawful act or to use unlawful means to achieve a lawful

end. United States v. Stein, 435 F. Supp. 2d 330 (S.D.N.Y. 2006): In this case, the defendants were charged

with conspiracy to defraud the United States by engaging in fraudulent accounting practices. The court

held that the defendants had conspired to defraud the government and awarded damages to the

government. Ager v. Jane C. Stormont Hosp. & Training Sch. for Nurses, 622 F. Supp. 1293 (D. Kan. 1985):

In this case, the plaintiff alleged that the defendants had conspired to defraud him by denying him

employment opportunities. The court held that the defendants had conspired to defraud the plaintiff

and awarded damages to the plaintiff. In re Enron Corp. Securities, Derivative & ERISA Litigation, 535 F.

Supp. 2d 712 (S.D. Tex. 2007): In this case, the plaintiffs alleged that the defendants had conspired to
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defraud them by engaging in fraudulent accounting practices. The court held that the defendants had

conspired to defraud the plaintiffs and awarded damages to the plaintiffs . In re Methyl Tertiary Butyl

Ether ("MTBE") Prods. Liab. Litig ., 341 F. Supp. 2d 374 (S.D.N.Y. 2004): In this case, the plaintiffs alleged

that the defendants had conspired to defraud them by manufacturing and distributing a harmful

gasoline additive. The court held that the defendants had conspired to defraud the plaintiffs and

awarded damages to the plaintiffs.

                               Fourth Cause of Action - Negligent Misrepresentation

        The defendants made negligent misrepresentations to the plaintiff, Rahul, by failing to disclose

material facts about the acquisition that would have affected his decision to enter into the purchase and

sale agreement. The defendants knew or should have known that their failure to disclose this

information would cause harm to the plaintiff. Stratford v. Colonial Trust Co., 6 Conn. App. 368 (1986): In

this case, the Connecticut Appellate Court held that a plaintiff must prove the following elements to

establish a claim for negligent misrepresentation: (1) a false statement offact made by the defendant;

(2) the defendant's lack of care in ascertaining the truth of the statement; (3) the defendant's intent that

the plaintiff rely on the statement; (4) the plaintiffs reasonable reliance on the statement; and (5) the

plaintiff's damages caused by the reliance. Aetna Casua lty & Surety Co. v. Murphy, 206 Conn. 409 (1988):

In this case, the Connecticut Supreme Court held that a party may be held liable for negligent

misrepresentation if it fails to disclose material facts that it had a duty to disclose, and that failure to

disclose causes harm to the plaintiff. American Fidelity & Casua lty Co. v. London & Edinburgh Ins. Co.,

354 F. Supp. 1364 (D. Conn. 1973): In this case, the court held that a party may be liable for negligent

misrepresentation if it makes a false statement or fails to disclose material facts that it had a duty to

disclose, and that false statement or failure to disclose causes harm to the plaintiff.
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                                  Fifth Cause of Action - Unjust Enrichment

        The defendants were unjustly enriched by the plaintiff's deposit and the time spent by the

plaintiff in attempting to acquire the DoubleTree by Hilton Hotel Norwalk. The defendants did not earn

this enrichment through their own efforts and should be required to disgorge these profits to the

plaintiff. Texaco Inc. v. Pennzoil Co., 729 F.2d 1518 (5th Cir. 1984): In this case, the plaintiff alleged that

the defendant had been unjustly enriched by wrongfully interfering with a contract. The court held that

the defendant had been unjustly enriched and awarded damages to the plaintiff. Seeley v. Seymour, 222

F.3d 475 (7th Cir. 2000): In this case, the plaintiff alleged that the defendant had been unjustly enriched

by fraudulently inducing the plaintiff to enter into a contract. The court held that the defendant had

been unjustly enriched and awarded damages to the plaintiff. Fuller v. Homecomings Fin. Network, 2007

U.S. Dist. LEXIS 32736 (N.D. Ill. 2007): In this case, the plaintiff alleged that the defendant had been

unjustly enriched by charging excessive fees. The court held that the defendant had been unjustly

enriched and ordered the defendant to disgorge the profits. Sliwinski v. Markum, 199 F. Supp. 2d 1105

(D. Minn. 2002): In this case, the plaintiff alleged that the defendant had been unjustly enriched by

wrongfully taking the plaintiff's property. The court held that the defendant had been unjustly enriched

and ordered the defendant to disgorge the profits.

        In summary, the plaintiff, Rahul, has various legal claims under, including breach of contract,

fraudulent misrepresentation, conspiracy, negligent misrepresentation, and unjust enrichment, based on

the defendants' fraudulent behavior and misconduct in cancelling the deal and causing damages to the

plaintiff. Exhibited A and B is the PSA and Termination.
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                                          Prayer for Relief

Wherefore, Plaintiff Rahulkumar M. Patel et al. prays that that the Court:

1.   Enter judgment in favor of Plaintiffs and against Defendants on all claims for relief;

2.   Temporarily, preliminarily, and permanently enjoin Defendants and all persons or

     companies;

3.   Order Defendants to pay Plaintiff its attorneys' fees, once he/she is here, incurred in this

     action and all others costs of the action;

4.   Order prejudgment and post judgment interest at the maximum legal rate as an element of

     damages which Defendants have suffered as a result ofthe wrongful and illegal acts of

     Defendants;

5.   Order Defendants to pay Plaintiffs restitution for all claims for relief for which restitution is

     authorized; and

6.   Order such other relief as the Court deems just.
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                                   V.       Certification and Closing
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,
information, and beliefthat this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law
or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions
have evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.


For Parties Without an Attorney
I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk's Office may result in the
dismissal of my case.


Date of signing: April 3, 2023
                                                   {)_o
Signature of Plaintiff as Pro S e : - - - - - - - ~ - - - - - - - - -

Printed Name of Plaintiff
Rahulkumar M. Patel
DNA Lodging LLC
M7 Investment Fund I LLC
DNA 789 CT AVE LLC
121 Providence New London Turnpike
North Stonington, CT 06359
New London County
646-474-3177
M7partners @gmail.com
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                                PURCHASE AND SALE AGREEMENT

        THIS PURCHASE AND SALE AGREEMENT (this "Agreement") dated as of the date last
signed by Purchaser or Seller (the "Effective Date"), is made by and between DNA Lodging LLC, a
Connecticut limited liability company, having an address of 105 Club Road, Riverside, CT 06878
("Purchaser") and 789 Connecticut Avenue Holdings, LLC, a Maiyland limited liability company,
having an address c/o CWCapital Asset Management LLC, 7501 Wisconsin Avenue, Suite 500 West,
Bethesda, Maryland 20814 ("Seller").

                                               RECITALS:

         R-1.     Seller desires to sell certain improved real property known generally and commonly
referred to as the "DoubleTree by Hilton Hotel Norwalk" located at 789 Connecticut Avenue, Norwalk,
Fairfield County, Connecticut, along with certain related property described below, and Purchaser desires
to purchase such real and other property from Seller.

        R-2.     Seller and Purchaser, intending to be bound by this Agreement, desire to set forth herein
the terms, conditions and agreements under and by which Seller shall sell and Purchaser shall purchase the
property described below.

                                             AGREEMENTS:

        NOW, THEREFORE, in consideration of the mutual agreements and covenants contained herein
and other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
Seller and Purchaser agree as follows:

        1.      THE PROPERTY.

                 1.1      De cription. Subject to the terms and conditions of this Agreement, and for the
consideration set forth herein, Seller hereby agrees to sell, assign and convey, and Purchaser hereby agrees
to purchase, acquire and assume, all of Seller's respective right, title and interest in and to the following
(the "Property"):

                           1.1.1   That certain parcel of land located in Fairfield County, Connecticut,
having a street address of 789 Connecticut Avenue, Norwalk, Connecticut 06854, and being more
specifically described on Schedule 1.1.l, attached hereto (the "Land"), along with all buildings (the
"Buildings") together with all other improvements, parking facilities and fixtures located on the Land (the
Buildings and any and all other improvements located on the Land are hereinafter referred to collectively
as the "Improvements") and all easements, hereditaments, appurtenances, development rights, and other
benefits, if any, pertaining to or affecting the Land (collectively, the "Easements"). The Land, Buildings,
Improvements and Easements are hereinafter collectively referred to as the "Real Property";

                         1.1.2 All furniture, furnishings, fixtures, equipment and other tangible personal
property affixed to and/or located at the Real Property and used in connection with the Real Property, or
replacements of those items permitted pursuant to this Agreement (the "Personal Property");

                            1.1.3 Any and all written leases, tenancies, licenses and other rights of
occupancy or u e of or for a.ny .poi-tlon· of the Real Property or the Personal Property including but not
limited to that certaii1 (i) Vending _S el'vic~ Contract ~ated November 6, 20 13, by and between Seller and
Fairfield County Vending, and (ii) Satellite Programming License and Equipment Lease dated October 6,
2011, by and between Seller's predecessor-in-interest and World Cinema, Inc. (including all amendments,
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renewals and extensions thereof), save and except the Equipment Lease as defined below (collectively,
"Leases"), any and all Contracts (defined in Section 3.7, below and listed on Schedule 1.1.3), any and all
pennits and any and all wan-anties, telephone exchange numbers, architectural or engineering plans and
specifications and development rights that exist as of the Date of Closing (defined in Section 2.4 below)
and relate to the Real Property or the Personal Property (collectively, the "Intangible Property").

                  1.2    Agreement to Convey. Subject to the conditions set forth in Article 6, Setler agrees
to sell and convey, and Purchaser agrees to purchase and accept, on the Date of Closing (defined in Section
2.4, below): (a) fee simple title to the Real Property by way of the Deed (defined in Section 8.1.1, below),
to be executed and delivered by Seller in respect to the Property, and which shall be subject to the Permitted
Exceptions (defined in Section 3.8, below) affecting or encumbering the Real Property; and (b) the
remainder of the Property, by way of the assignment and assumption agreements, a quitclaim bill of sale
and other instruments of conveyance described in this Agreement.

                1.3     That certain 2015 Ford Van, identified by Vehicle Identification Number ending
KA38215, title issue date May 9, 2016 (the "Vehicle"). At Closing, Seller shall quitclaim unto Purchaser,
by and through the Bill of Sale (defined in Section 8.1.8 below), Seller's interest, if any, in the Vehicle.
Seller makes no representations or warranties regarding the condition of the Vehicle or the status of title to
the Vehicle. Purchaser acknowledges and agrees to pay any and all fees and costs to transfer the Vehicle.

                 1.4      All of Seller's interest in, if any, that certain Dishmachine Lease Agreement, by
and between Ecolab Inc., as lessor (the "Equipment Lessor") and Commonwealth Lodging Doubletree
Hotel (the "Equipment Lease"). At or prior to Closing, Purchaser will execute and deliver any documents
necessary to assume, and release Seller from any obligations or liabilities under, the Equipment Lease,
including, but not limited to, a replacement Dishmachine Lease Agreement, provided that any such
documents are in a form acceptable to Seller and Equipment Lessor. Purchaser shall make commercially
reasonable efforts to cause the Equipment Lessor to execute and deliver a consent to Purchaser's assumption
of, and Seller's release from, the Equipment Lease, including, without limitation, completing any credit
applications, providing any information requested by the Equipment Lessor, entering into a replacement
Dishmachine Lease Agreement if required by the lessor under the Equipment Lease, and paying any and
all fees and costs required by the Equipment Lessor. If Equipment Lessor's consent to assumption of the
Equipment Lease in a form acceptable to Seller and Equipment Lessor is not obtained by the Date of
Closing, then Seller shall terminate the Equipment Lease, and Purchaser shall pay at Closing any and all
fees, costs and expenses incun-ed by Seller in connection with such termination.

        2.       PURCHASE PRICE AND PAYMENT.

                2. I   Purchase Price. The purchase price for the Property (the "Purchase Price") is
Fifteen Million Five Hundred Thousand and No/100 U.S. Dollars ($15,500,000.00).

                 2.2     Deposit.

                         2.2.1   Deposit. Within two (2) business days following the Effective Date,
Purchaser shall, by federal wire transfer, deposit the sum of Two Hundred Thousand and No/100 U.S.
Dollars ($200,000.00) (the "Initial Deposit") into the escrow account of First American Title Insurance
Company National Commercial Services, Attention: Brian A. Lobuts, located at 1850 K Street NW, Suite
1050, Washington, D.C. 20006 (the ~'Title Company"). If Purchaser shall fail to make the Initial Deposit
by 5:00 p.m. Eastern Time in accordance with the fo~egoing, this Agreement shall automatically terminate
and neither party shall thereafter have any further right$; obligations or liability hereunder, except as
otherwise expressly set forth herein. Once posted, the Initial·Deposit shall be reftindable upon the demand
of Purchaser, without any right by Seller to ·object or delay such refund, in the event that Purchaser



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terminates this Agreement in accordance with Section 3.6, below, on or before 5:00 p.m., Eastern Time, on
the last day of the Due Diligence Period (defined in Section 3.1, below). Notwithstanding anything to the
contrary contained in this Agreement, a portion of the Initial Deposit in the amount of One Hundred
Thousand and No/100 U.S. Dollars ($100,000.00) shall be non-refundable as of the Effective Date, subject
only to the provisions of Articles 6 and 9, and Section 10.4 hereof. No later than 5:00 p.m. on the date of
the expiration of the Due Diligence Period, Purchaser shall, by federal wire transfer, deposit the sum of
Three Hundred Fifty Thousand and No/100 U.S. Dollars ($350,000.00) (the "Additional Deposit") into
the escrow account of the Title Company, and which Additional Deposit, once posted, shall be non-
refundable, subject only to the provisions of Articles 6 and 9, and Section I 0.4 hereof. The Additional
Deposit, upon deposit into the escrow account of the Title Company shall become part of the Deposit.

                         2.2.2 Maintenance of Deposit. The term "Deposit" as used herein shall mean
the Initial Deposit, Additional Deposit and any additional deposits as are described herein and all interest
earned thereon. The Deposit shall be held by the Title Company in an interest-bearing account subject to
receipt of a form W-9 from Purchaser. All interest earned on the Deposit shall be added to the principal
held in the escrow and shall constitute a part of the Deposit. Interest earned on the Deposit shall be deemed
earned by Purchaser. Provided that Purchaser has not terminated this Agreement pursuant to Section 3.6,
below, the Deposit shall become non-refundable, except as otherwise expressly provided herein.

                         2.2.3 Purchaser agrees that the retention of the Deposit by Seller represents a
reasonable estimation as of the Effective Date of Seller's damages in the event of Purchaser's default
hereunder, that actual damages would be impracticable or extremely difficult to ascertain, and that the
provision for liquidated damages hereunder does not constitute a penalty. The parties acknowledge that
these damages have been specifically negotiated between themselves and are, among other things, to
compensate Seller for taking the Property off the market, for Seller's costs and expenses associated with
this Agreement and for Seller's lost opportunity costs. Purchaser hereby waives the rights and benefits of
any law, rule, regulation, or order now or hereafter existing that would allow Purchaser to claim a refund
of the Deposit as unearned earnest money, a penalty, or for any other reason.

                2.3      Payment. Purchaser shall pay to Seller the Purchase Price, on or before 3:00 p.m.
Eastern Time on the Date of Closing (as defined in Section 2.4, below), by causing Title Company to wire
the Adjusted Purchase Price (as defined in Section 8.4) in immediately available funds to such bank
account(s) as Seller may designate. The Deposit shall be paid by the Title Company to Seller at Closing
and credited against the Purchase Price. The Purchase Price shall also be subject to further adjustments for
prorations and credits required to be made in accordance with Article 7, below.

                  2.4   Clo ing. The purchase and sale of the Property shall be consummated at closing
(the "Closing") in escrow through the Title Company on the date that is thirty (30) days after the expiration
of the Due Diligence Period (as defined in Section 3.1, below) (the "Date of Closing"). Purchaser shall
have one option to extend the Date of Closing by a period of thirty (30) days, upon delivery of written
notice to Seller and an additional escrow deposit of one hundred thousand and No/100 U.S. Dollars
($100,000.00) with the Title Company, to be credited towards the Purchase Price, which shall be non-
refundable except as otherwise provided in Articles 6 and 9 and Section 10.4. For the avoidance of doubt,
any such extension shall not extend the Due Diligence Period or modify the parties' obligations under
Article 6 of this Agreement. The parties shall execute an amendment memorializing such extended Date
of Closing. Closing shall occur on the Date of Closing at the Title Company, or at such other time and
place as may be agreed to in writing by Seller ai~d Purchaser.




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        3.       INSPECTIONS AND APPROVALS.

                 3.1    Inspections. Purchaser shall have a period of time commencing on the Effective
Date, and expiring at 5:00 p.m. Eastern Time on that day which is forty-five (45) days following the
Effective Date (the "Due Diligence Period"), in which to conduct the inspections and studies described in
this Article 3.

                 3.2       Access to the Pro perty and Indemnification by Purchaser. During the Due
Diligence Period, Seller shall permit Purchaser and Purchaser's agents and representatives access to the
Land and Improvements for the purpose of conducting such physical and environmental inspections of the
Land and Improvements (collectively, the "Inspections") as Purchaser shall deem necessary to determine
the feasibility of the Land and Improvements for Purchaser's intended use. Before Purchaser enters the
Land and Improvements to perfonn Inspections, Purchaser shall give Seller reasonable advance written
notice and, at Seller's option, a representative of Seller may accompany Purchaser and/or Purchaser's
representative. Purchaser agrees to be solely responsible for the conduct of Purchaser's representatives on
and adjacent to the Land and Improvements and shall assume and pay for all expenses incurred in
connection with the Inspections. At all times during the presence of Purchaser or Purchaser's
representatives on the Land and Improvements, Purchaser agrees that Purchaser will not allow, and
Purchaser's representatives will not conduct, any physically invasive testing of, on, or under the Land or
Improvements without first obtaining Seller's written consent. Purchaser agrees to return the Land and
Improvements to substantially the same condition and cleanliness existing before entry and/or occupation
by Purchaser's representatives, including, but not limited to, sealing wells or other similar subsurface
investigations. Purchaser shall use reasonable efforts to minimize interference with Seller's and any
tenants' use and occupancy of the Buildings. Purchaser shall not at any time, either prior to or after the
Effective Date, contact any tenants of the Property. Purchaser shall keep confidential the infonnation
resulting from the Inspections. Purchaser may disclose confidential infonnation to Purchaser's
representatives to the extent each needs to know confidential infonnation for the sole purpose of evaluating
the Land and Improvements, provided Purchaser takes all reasonable measures to assure that Purchaser's
representatives keep such information confidential. Purchaser shall indemnify and hold Seller harmless
from any loss, injury, liability, damage or expense, including reasonable attorneys' fees and costs, directly
caused by Purchaser, which Seller may incur as a result of (a) any act or omission of Purchaser or its agents
or representatives arising in connection with any tests or inspections conducted by Purchaser or its agents
or representatives, or (b) the failure of Purchaser to restore the Property in accordance with this Section 3.2;
provided, however, that Purchaser shall not be required to indemnify Seller if and to the extent that any
such loss, injury, liability, damage or expense was caused by the negligence or misconduct of Seller, its
employees or its agents. The foregoing shall survive tennination of this Agreement or the Closing, as
applicable. Furthermore, Purchaser shall, at its sole expense, keep and maintain a policy of comprehensive
public liability insurance with a contractual liability endorsement that covers Purchaser's indemnity
obligation set forth above. This insurance policy shall name Seller, Seller's Sole Member/Manager and
CWCapital Asset Management LLC ("CW Capital") as an additional insured and afford protection in limits
of not less than One Million Dollars ($1,000,000) for bodily injury or death in any one accident, and not
less than One Million Dollars ($1,000,000) for property damage. All insurance shall be effected under
standard form policies, issued by insurers ofrecognized responsibility authorized to do business in the state
in which the Property is located and having a national rating of A-XI or better. Within two (2) days after
the Effective Date, Purchaser shall deliver to Seller certificates of such insurance coverage and, not less
than thirty (30) days before the expiration of the policy, a certificate of the renewal of such coverage
accompanied by evidence reasonably satisfactory to Seller of payment of premiums therefor. ln addition,
the insurance shall be primary, non-contributing, and contain a waiver of subrogation in favor of Seller,
Seller's sole member and CWCapital. ·.




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                3.3      Inspection of Documents. Within five (5) business days after the Effective Date,
Seller shall make available to Purchaser or its representative, for inspection and copying, at the Buildings
or some other location mutually convenient to the parties, the Property infonnation materials relating to the
Land and Improvements set forth on Schedule 3.3 attached hereto ("Property Documents"), to the extent
such Property Documents are within Seller's possession or control.

                          3.3.1    Purchaser acknowledges, understands and agrees that the Property
Documents may have been prepared by parties other than Seller and that Seller makes no representation or
warranty whatsoever, express or implied, as to the completeness, content or accuracy of the Property
Documents. Purchaser specifically releases Seller from all claims, demands, causes of action, judgments,
losses, damages, liabilities, costs and expenses (including, without limitation, attorney's fees whether suit
is instituted or not), whether known or unknown, liquidated or contingent (collectively "Claims") asse1ted
against or incurred by Purchaser by reason of the information contained in, or that should have been
contained in, the Property Documents. The provisions of this Section 3.3.1 shall survive Closing, or the
early termination of this Agreement.

                 3.4      Survey.

                           3.4.1    As part of the Property Documents, Seller shall deliver the most recent
survey, if any, in its possession to Purchaser (the "Existing Survey"). Purchaser shall, within ten ( I 0) days
after the Effective Date, at its sole cost and expense, order an update to the Existing Survey ( or if there is
no Existing Survey, a new survey) for delivery to Purchaser no later than twenty-one (21) days after the
Effective Date (the Existing Survey, as updated, or a new survey, the "Survey"). On or before the
expiration of the twenty-first (21 st) day after the Effective Date, Purchaser shall deliver to Seller, in writing,
any objections to any matters shown on the Survey, which such objections shall be delivered simultaneous
with any objection to the Title Commitment delivered pursuant to Section 3.5 ("Objection Letter").
Purchaser's failure to timely object to any such matters shall be deemed to constitute Purchaser's approval
thereof. If Purchaser timely objects to any matters shown on the Survey, then Seller shall have the right,
but not the obligation, to agree in writing to cure before Closing such objections, or to decline to cure such
objections.

                            3.4.2 Seller shall have until 5:00 p.m. Eastern Time on the date which is ten (I 0)
days after receipt of the Objection Letter (the "Cure Date") to agree in writing to cure before Closing, or
decline to cure, Purchaser's objections to the Survey in a manner acceptable to Purchaser. If Seller elects
not to cure, or fails to timely respond to Purchaser's Objection Letter, Seller shall be deemed to have elected
not to cure, in which event, Purchaser shall, on or before the expiration of the Due Diligence Period, either
(i) terminate this Agreement by delivery of written notice to Seller and Title Company, whereupon Title
Company shall release and return the Deposit to Purchaser, or (ii) waive in writing its objection to the
Survey. Purchaser's failure to timely deliver to Seller and Title Company a written notice of termination
or waive its objection to the Survey shall be deemed to constitute Purchaser' s waiver of such objections.

                        3.4.3     Purchaser acknowledges that Seller will not execute an affidavit or other
documentation regarding whether there have been any changes at the Property since the date of the Existing
Survey, and if Purchaser fails to obtain a new survey or an update to the Existing Survey: (i) there will be
an exception added to Purchaser's title policy and the Deed (as defined in Section 8.1.1) for matters which
would have been shown by a current survey; and (ii) Seller will not agree to an extension of the Date of
Closing to allow Purchaser to receive such an updated survey .




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                 3.5      Title Commitment.

                          3.5. l     Within five (5) days after the Effective Date, Purchaser, at its sole cost and
expense, shall order from Title Company, a Commitment for Title Insurance (the "Title Commitment"),
setting forth the status of title to the Land and all exceptions which would appear in an Owner's Policy of
Title Insurance, specifying Purchaser as the named insured and showing the Purchase Price as the policy
amount. Purchaser shall, on or before the twenty-first (21 st ) day after the Effective Date, deliver to Seller
the Objection Letter with any objections to matters shown in the Title Commitment. Purchaser's failure to
timely object to any such matters shall be deemed to constitute Purchaser's approval of same, and such
shall then become Pennitted Exceptions. If Purchaser timely objects to any item set forth in the Title
Commitment, then Seller shall have the right, but not the obligation, to attempt to cure or cause to be cured
before Closing such disapproved item. Seller shall have until 5:00 p.m. Eastern Time on the Cure Date to
agree in writing to cure before Closing such disapproved item. If Seller elects not to cure, or fails to timely
respond to Purchaser's objections, Seller shall be deemed to have elected not to cure, in which event
Purchaser shall, on or before the expiration of the Due Diligence Period, either (i) terminate this Agreement
by delivering to Seller and Title Company a written notice of termination, whereupon Title Company shall
release and return the Deposit to Purchaser, or (ii) waive in writing its objection to the disapproved items,
which shall then become Permitted Exceptions. Purchaser's failure to timely deliver to Seller and Title
Company a written notice of termination or waiver of its objection to the disapproved items shall be deemed
to constitute Purchaser's waiver of its objection to said items and such items shall become Permitted
Exceptions.

                         3.5.2 Purchaser shall have two (2) business days after receipt of any updates to
the Title Commitment (including receipt of any documents referenced in such update) to object to any
material matters disclosed therein that were not disclosed in the original Title Commitment, and the
procedure for objecting to such matters shall be as set forth in Section 3.5. l above.

                  3.6      Purcha er Acceptance or Rejection prior to the Expiration of the Due Diligence
Period. On or before the expiration of the Due Diligence Period, if Purchaser, after conducting its
Inspections, as described in this Article 3, does not desire to purchase the Property, Purchaser will give
Seller written notice of its termination of this Agreement. If the Due Diligence Period expires without a
notice of tennination being received by Seller, then Purchaser will be deemed to have approved and
accepted the Property and to have agreed to complete the transaction contemplated by this Agreement, and
the Deposit wi II be nonrefundable, subject only to the provisions of Section l 0.1 and Section 10.4 hereof.
If Purchaser gives Seller a notice of termination on or before the expiration of the Due Diligence Period,
this Agreement will automatically terminate, the Deposit will be delivered to Purchaser (subject to the prior
return of all copies of all Property Documents to Seller), and thereupon neither party will have any further
obligation or liability to the other party hereunder, except as otherwise expressly provided herein.

                  3. 7    Purchaser shall assume all Contracts at Closing (such Contracts being herein
referred to as the "Assumed Contracts"). Effective as of the Date of Closing, Purchaser will assume all of
Seller's liabilities and obligations with respect to the Assumed Contracts. As used herein, the term
"Contracts" shall mean all service, maintenance, supply or other contracts relating to the operation of the
Property, and all other such assignable contracts or agreements in effect as of the Effective Date, including
but not limited to that certain service agreement dated October 15, 2012 by and between Seller's
predecessor-in-interest and Schindler Elevator Corporation (but excluding any management, leasing or
brokerage agreements).

                         3.7.1  Consents to Transfer. Purchaser shall be responsible for securing any
consent from third parties who have the right to consent to the transfer of any Contract, permit, Intangible
Property and/or Lease and Purchaser shall be responsible for paying any fee in connection with such consent


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and/or early termination of same. The consents shall provide that if the transaction contemplated by this
Agreement is not consummated, the consent will not be effective. It is understood that a failure to obtain
such consents is not a condition precedent to Purchaser's obligation to close. Purchaser will assume all
liability which arises as a result of failing to obtain any such consent and shall indemnify, defend and hold
harmless Seller from any liability, claims, actions, expenses, or damages incun-ed by Seller as a result of
such failure, should Seller elect to waive the issuance of such consents as a precondition to Closing under
Atticle 6. Such indemnity shall survive the Closing.

               3.8      Perm itted Exceptions. Purchaser shall accept title to the Property, subject to the
following exceptions (the "Permitted Exceptions"):

                         3.8.1   Those matters affecting or relating to the title to, or the survey of, the
Property: (a) which are ofrecord on the date of the Title Commitment or as shown on the Survey, and which
were not included in an Objection Letter timely delivered by Purchaser; (b) which were included in an
Objection Letter, but for which Purchaser has waived or been deemed to have waived the cure thereof; or
(c) which Purchaser has otherwise approved in writing.

                       3.8.2 The lien of non-delinquent taxes, assessments and other usual and
customary charges assessed against the owners of real property in the state in which the Land is located.

                        3.8.3 All matters disclosed by the Property Documents and Leases and
Contracts not prohibited hereunder.

                          3.8.4 All building and zoning laws, codes and regulations affecting the Property,
including all proffers, special exceptions, conditions, site plan approvals, and other similar matters, if any,
relating to the zoning of the Property.

                        3 .8.5 Any and all bankruptcy claims preserved or accruing to Seller on or before
the Effective Date against the prior owner or related to the Property.

        4.       SELLER'S OBLIGATIONS PRIOR TO CLOSING.                         Until Closing, Seller and/or
Seller's agents or representatives shall:

               4. 1    Insurance. Keep the Property insured, in an amount sufficient to satisfy any co-
insurance requirement or stipulation, against fire and other hazards covered by extended coverage
endorsement and comprehensive public liability insurance against claims for bodily injury, death and
property damage occurring in, on or about the Property.

                 4.2     Operation. Maintain the Property in good condition and make repairs and/or
replacements in the ordinary course of business in connection with any damage to the Property, and deliver
the Property to Purchaser at Closing in the condition existing as of the Effective Date, nonnal wear and tear
and damage by casualty excepted.

                 4.3     Notices. Provide to Purchaser, immediately upon the receipt thereof, any and all
written notices relating to the Property received by Seller or its agents or representatives from any
governmental or quasi-governmental instrumentality, insurance company, vendor or other party under any
of the Contracts, or from any other entity or party, which notices are of a type not normally received in the
ordinary course of Seller's business, or which may have a material effect upon the Property or result in a
material change in a representation or wananty made by Seller hereunder.




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                 4.4    Compliance w ith Agreements. Take all actions necessary to comply with all
agreements, covenants, encumbrances and obligations affecting or relating to the Property and the
ownership, operation and maintenance thereof. Seller shall pay all utility bills, tax bills and other invoices
and expenses relating to the Property, as and when the same become due, except as otherwise expressly
provided herein.

                 4.5     New Contracts. Prior to the expiration of the Due Diligence Period, Seller may,
without the prior consent of Purchaser, enter into any Contracts provided that Seller shall provide Purchaser
written notice of such actions. After the expiration of the Due Diligence Period, Seller agrees that it will
not take any actions set forth in the preceding sentence without Purchaser's prior written consent, which
consent shall not be unreasonably withheld, conditioned or delayed.

                 4.6       Leases. Prior to the expiration of the Due Diligence Period, Seller may (a) amend
or terminate any Leases; (b) consent to the assignment of any Leases or subleasing of any of the Property;
or (c) enter into any new Lease of the Property or any portion thereof, provided that Seller prov ides
Purchaser with written notice of such actions. After the expiration of the Due Diligence Period, Seller
agrees that it will not take any actions set forth in (a) through (c) above without Purchaser's prior written
consent, which consent shall not be unreasonably withheld, conditioned or delayed.

                4. 7    Per anal Property Substitu tions. Seller may remove any item included in the
Personal Property provided that Seller substitutes therefor an item of like kind and comparable fair market
value.

                 4.8      In formation Requests.     Until Closing, Seller and/or Seller's agents or
representatives shall use commercially reasonable efforts to make available to Purchaser, or its
representatives, including but not limited to potential lenders, partners and vendors, any Property
information or materials relating to the Land and Improvements for inspection and copying at the Buildings,
or some other location mutually convenient to the parties, provided that the requested Property information
is within Seller's possession or control and such requests are commercially reasonable.

        5.      REPRESENTATIONS AND WARRANTIES.

                5.1      Bv Se ller. Seller represents and wan-ants to Purchaser, as of the Effective Date,
that:

                        5.1.1   Seller has the power, right and authority to enter into and perform all of
the obligations required of Seller under this Agreement and the instruments and documents referenced
herein, and to consummate the transaction contemplated hereby.

                         5 .1.2 This Agreement is, and all agreements, instruments and documents to be
executed and delivered by Seller pursuant to this Agreement shall be, duly authorized, executed and
delivered by Seller. This Agreement is, and all agreements, instruments and documents to be executed and
delivered by Seller pursuant to this Agreement shall be, valid and legally binding upon Seller and
enforceable in accordance with their respective terms.

                        5.1.3 Neither the execution of this Agreement nor the consummation of the
transactions contemplated hereby does now constitute or shall result in a breach of, or a default under, any
agreement, document, instrument or other obligation to which Seller is a party or by which Seller may be
bound.




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                          5.1.4 Survival. The representations and warranties set forth in this Article 5
shall not survive Closing of this transaction, and no action or claim may be brought against Seller by
Purchaser or any affiliate of Purchaser with respect to a breach of such representations or warranties or any
action, suit or other proceedings commenced or pursued, for or in respect of any breach of any
representation or warranty made by Seller in this Agreement from and after the Closing.

                          5.1.5 Limitation on Remedies. Notwithstanding anything herein to the contrary,
if Purchaser discovers prior to Closing that one or more of the representations and warranties under the
provisions of this Article 5 are false or untrue as of the Date of Closing, Purchaser's sole remedy will be to
exercise its rights under the provisions of Section I 0.4 hereof.

                 5.2     By Purchaser. Purchaser represents and warrants to Seller as of the Effective Date
that:

                         5.2.1   Purchaser is a corporation, partnership, limited liability company, trust or
other type of business organization that is duly organized, validly existing and in good standing under the
laws of the state in which it was organized and Purchaser is qualified to do business in the jurisdiction in
which the Property is located.

                         5.2.2 Purchaser has taken all requisite action and obtained all requisite consents,
releases and permissions in connection with entering into this Agreement and the instruments and
documents referenced herein or required under any covenant, agreement, encumbrance, law or regulation
with respect to the obligations required hereunder, and no consent of any other party is required for the
performance by Purchaser of its obligations hereunder.

                        5.2.3 This Agreement is, and all agreements, instruments and documents to be
executed and delivered by Purchaser pursuant to this Agreement shall be, duly authorized, executed and
delivered by Purchaser. This Agreement is, and all agreements, instruments and documents to be executed
and delivered by Purchaser pursuant to this Agreement shall be, valid and legally binding upon Purchaser
and enforceable in accordance with their respective terms.

                         5.2.4 Neither the execution of this Agreement nor the consummation of the
transactions contemplated hereby does now constitute or shall result in a breach of, or a default under, any
agreement, document, instrument or other obligation to which Purchaser is a party or by which Purchaser
may be bound, or any law, statute, ordinance, rule, governmental regulation or any writ, injunction, order
or decree of any court or governmental body, applicable to Purchaser or to the Property.

                           5.2.5 No petition in bankruptcy (voluntary or otherwise), assignment for the
benefit of creditors, or petition seeking reorganization or arrangement or other action under Federal or state
bankruptcy law is pending against or, to the best of Purchaser's knowledge, contemplated by Purchaser.

                          5.2.6 There are no actions, suits, claims or other proceedings pending or, to the
best of Purchaser's knowledge, contemplated or threatened against Purchaser that could affect Purchaser's
ability to perform its obligations when and as required under the terms of this Agreement.

                         5.2.7 Purchaser (or its assignee, if applicable) is not a Certificateholder under
that certain Pooling and Servicing Agreement dated August I, 2015 for the Registered Holders of COMM
2015-CCRE23 Mortgage Trust, Commercial Mortgage Pass-Through Certificates (the "PSA") and
Purchaser (or its assignee, if applicable) is not the Trustee, its Affiliates or an Interested Person, as those
terms are defined in the PSA, which definition for Interested Person includes agents, contractors and
employees of the Special Servicer, as defined in the PSA.



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                          5.2.8 Neither Purchaser (or its assignee, if applicable), nor any partner, officer,
director, shareholder or member of Purchaser (or its assignee, if applicable), nor any officer, director,
shareholder, member or partner of any partner, shareholder or member of Purchaser (or its assignee, if
applicable) are related to, affiliated with, or an employee of CWCapital.

                         5.2.9 Purchaser has the power, right and authority to enter into and perform all
of the obligations required of Purchaser under this Agreement and the instruments and documents
referenced herein, and to consummate the transaction contemplated hereby.

                         5.2.10 Survival. Notwithstanding anything contained in Article 5 to the contrary,
the representations and warranties set forth in Sections 5.2.7 and 5.2.8 shall be true as of the Effective Date
and as of the Date of Closing, and shall survive for a period of six (6) months following Closing of this
transaction.

                          5.2.11 Purchaser is not and will not become a Competitor (defined herein) of the
Licensor (defined in Section 8.4, below). "Competitor" means any individual or entity that, directly or
through an Affiliate (defined herein), owns in whole or in part, or is the licensor or franchisor of a hotel
brand or trade name that, in Licensor's sole judgment, competes with the System (defined herein) or any
hotel owned, operated or franchised by Licensor, irrespective of the number of hotels owned, licensed or
franchised by said individual or entity under such brand name. A Competitor does not include an individual
or entity that (i) owns a minority interest in a Competitor, so long as that individual or entity and any of its
Affiliates is not a director or employee of the Competitor, does not provide services (including as a
consultant) to the Competitor, and does not exercise or have the right to exercise, control or intluence over
the business decisions of the Competitor; (ii) is a franchisee or licensee of a Competitor; or (iii) manages a
property for a Competitor.

                                   5.2.11.1 Definitions. The capitalized terms in this Section 5.2.11 are
defined as follows: (a) "Affiliate' means with respect to any natural person or firm, corporation,
partnership, association, trust or other entity which, directly or indirectly, controls, is controlled by, or is
under common control with, the subject entity; (b) "Control" in all its forms means the possession, directly
or indirectly, of the power to direct or cause the direction of the management and policies of an entity, or
of the power to veto major policy decisions of an entity, whether through the ownership of voting securities,
by contract, or otherwise; ( c) "System" means the elements, including know-how, that Licensor designates
from time to time to identify hotels operating under the Licensed Brand that provide to the consuming
public a similar, distinctive, high quality hotel service, including the Licensed Brand and the Marks, access
to a reservation service, advertising, publicity and other marketing programs and materials, training
programs and materials, standards, specifications and policies for construction, furnishing, operation,
appearance and service of the Property, and programs for inspecting the Property and consulting with
Licensor's licensees; (d) "Licensed Brand" means "Doubletree"; and (e) "Marks" means the Licensed
Brand service marks and all other service marks, copyrights, trademarks, logos, insignia, emblems,
symbols, designs (whether registered or unregistered), slogans, distinguishing characteristics, and trade
names, domain names and all other marks or characteristics associated or used with or in connection with
the System, and similar intellectual property rights.

                                 5.2.11.2 Termination.      If, prior to Closing, it is determined that
Purchaser's representations and warranties provided in this Section 5.2.11 are not true, complete or
accurate, Seller's sole remedy shall be to terminate this Agreement by giving notice of such termination to
Purchaser (with a copy to Title Company) and receive the Deposit as liquidated damages. If Seller does so
terminate this Agreement, then Title Company shall pay the Deposit to Seller.
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                                  5.2.11.3 Indemnification. Purchaser covenants and agrees to indemnify,
defend, and hold harmless Seller from and against any and all liability, claims, actions, liquidated damages,
losses, expenses, fees, or damages, including without limitation those arising under the Operating
Agreement (defined in Section 8.4, below), if the representations or warranties provided in this Section
5.2.11 are not true, complete or accurate. The indemnification provided herein shall survive the Closing or
a tennination of this Agreement.

                  5.3     Broker. Seller and Purchaser each represents to the other that it has had no
dealings, negotiations, or consultations with any broker, representative, employee, agent or other
intermediary in connection with the sale of the Property, except that Seller has retained the services of
HREC Investment Advisors, Attn: Ketan Patel, Mark von Dwingelo, Philip White ("Seller's Broker") .
Seller shall be solely responsible for paying the fees and commissions owed to Seller's Broker, pursuant to
a separate written agreement between Seller and Seller's Broker. Seller and Purchaser agree that each will
indemnify, defend and hold the other free and harmless from the claims of any other broker(s),
representative(s), employee(s), agent(s) or other intermediary(ies) claiming to have represented Seller or
Purchaser, respectively, or otherwise to be entitled to compensation in connection with this Agreement or
in connection with the sale of the Property. This mutual indemnity shall survive Closing and any
termination of this Agreement.

                5.4      Property Condition.

                  5.4.1  Disclaimer. PURCHASER ACKNOWLEDGES AND AGREES THAT
SELLER HAS NOT MADE, DOES NOT MAKE AND SPECIFICALLY NEGATES AND DISCLAIMS
ANY REPRESENTATIONS, WARRANTIES (OTHER THAN AS SET FORTH IN THIS
AGREEMENT), PROMISES, COVENANTS, AGREEMENTS OR GUARANTIES OF ANY KIND OR
CHARACTER WHATSOEVER, WHETHER EXPRESS OR IMPLIED, ORAL OR WRITTEN, PAST,
PRESENT OR FUTURE, OF, AS TO, CONCERNING OR WITH RESPECT TO (A) THE VALUE,
NATURE, QUALITY OR CONDITION OF THE PROPERTY, INCLUDING, WITHOUT
LIMITATION, THE WATER, SOIL AND GEOLOGY, (B) THE INCOME TO BE DERIVED FROM
THE PROPERTY, (C) THE SUJTABILITY OF THE PROPERTY FOR ANY AND ALL ACTIVITIES
AND USES WHICH PURCHASER MAY CONDUCT THEREON, (D) THE COMPLIANCE OF OR BY
THE PROPERTY OR ITS OPERATION WITH ANY LAWS, RULES, ORDINANCES OR
REGULATIONS OF ANY APPLICABLE GOVERNMENTAL AUTHORITY OR BODY, (E) THE
HABIT ABILITY, MERCHANTABILITY, MARKETABILITY, PROFIT ABILITY OR FITNESS FOR A
PARTICULAR PURPOSE OF THE PROPERTY, (F) THE MANNER OR QUALITY OF THE
CONSTRUCTION OR MATERIALS, IF ANY, INCORPORATED INTO THE PROPERTY, (G) THE
MANNER, QUALITY, STATE OF REPAIR OR LACK OF REPAIR OF THE PROPERTY, OR(H)ANY
OTHER MATTER WITH RESPECT TO THE PROPERTY, AND SPECIFICALLY, THAT SELLER
HAS NOT MADE, DOES NOT MAKE AND SPECIFJCALLY DISCLAIMS ANY
REPRESENTATIONS      REGARDING       COMPLIANCE  WITH  ANY    ENVIRONMENTAL
PROTECTION, POLLUTION OR LAND USE LAWS, RULES, REGULATIONS, ORDERS OR
REQUIREMENTS, INCLUDING THE EXISTENCE IN OR ON THE PROPERTY OF HAZARDOUS
MATERIALS OR SUBSTANCES. PURCHASER FURTHER ACKNOWLEDGES AND AGREES
THAT HAVING BEEN GIVEN THE OPPORTUNITY TO INSPECT THE PROPERTY, PURCHASER
IS REL YING SOLELY ON ITS OWN INVESTIGATION OF THE PROPERTY AND NOT ON ANY
INFORMATION PROVIDED OR TO BE PROVIDED BY SELLER AND ACCEPTS THE PROPERTY
AND WAIVES ALL OBJECTIONS OR CLAIMS AGAINST SELLER (INCLUDING, BUT NOT
LIMITED TO, ANY RIGHT OR CLAIM OF CONTRIBUTION) ARISING FROM OR RELATED TO
THE PROPERTY OR TO ANY HAZARDOUS MATERIALS ON THE PROPERTY. PURCHASER
FURTHER ACKNOWLEDGES AND AGREES THAT ANY INFORMATION PROVIDED OR TO BE
PROVIDED WITH RESPECT TO THE PROPERTY WAS OBTAINED FROM A VARIETY OF


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SOURCES AND THAT SELLER HAS NOT MADE ANY INDEPENDENT INV ES TI GA TION OR
VERIFICATION OF SUCH INFORMATION AND MAKES NO REPRESENTATIONS AS TO THE
ACCURACY OR COMPLETENESS OF SUCH INFORMATION. SELLER JS NOT LIABLE OR
BOUND IN ANY MANNER BY ANY VERBAL OR WRITTEN STATEMENTS OTHER THAN AS
SET FORTH IN THIS AGREEMENT, AND IS NOT LIABLE OR BOUND IN ANY MANNER BY ANY
REPRESENTATIONS OR INFORMATION PERTAINING TO THE PROPERTY, OR THE
OPERATION THEREOF, FURNISHED BY ANY REAL ESTATE BROKER, AGENT, EMPLOYEE,
SERVANT OR OTHER PERSON. PURCHASER FURTHER ACKNOWLEDGES AND AGREES
THAT TO THE MAXIMUM EXTENT PERMITTED BY LAW, THE SALE OF THE PROPERTY AS
PROVIDED FOR HEREIN IS MADE ON AN "AS IS" CONDITION AND BASIS WITH ALL FAULTS.
IT IS UNDERSTOOD AND AGREED THAT THE PURCHASE PRICE FOR THE PROPERTY
REFLECTS THAT ALL OF THE PROPERTY IS SOLD BY SELLER AND PURCHASED BY
PURCHASER SUBJECT TO THE FOREGOING.

                           5.4.2 Release of Claims. Without limiting the provisions of Section 5.4.1,
Purchaser releases Seller from any and all Claims (whether known or unknown, and whether contingent or
liquidated) arising from or related to (a) any defects, errors or omissions in the design or construction of
the Property, whether the same are a result of negligence or otherwise; or (b) other conditions (including
environmental conditions) affecting the Property, whether the same are a result of negligence or otherwise.
The release set forth in this Section specifically includes any Claims under any Environmental Laws, under
the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101 et seq., or with respect to any
environmental risk. "Environmental Laws" includes, but is not limited to, the Solid Waste Disposal Act,
as amended by the Resource Conservation and Recovery Act (42 U.S.C. §§6901 et seq.), the
Comprehensive Environmental Response, Compensation and Liability Act of 1980 (42 U .S.C. §§ 9601 et
seq.), the Emergency Planning and Community Right to Know Act (42 U.S.C. §§ 11001 et seq.), the Clean
Air Act (42 U.S.C. §§7401 et seq.), the Clean Water Act (33 U.S.C. §§ 125 I et seq.), the Toxic Substances
Control Act (15 U.S.C. §§2601 et seq.), the Hazardous Materials Transpo1iation Act (49 U.S.C. §§1801 et
seq.), the Occupational Safety and Health Act (29 U.S.C. §§651 et seq.), the Federal lnsecticide, Fungicide
and Rodenticide Act (7 U.S.C. §§ I 36 et seq.), and the Safe Drinking Water Act (42 U.S.C. §§300f et seq.),
as any of the same may be amended from time to time, and any state or local law dealing with environmental
matters, and any regulations, orders, rules, procedures, guidelines and the like promulgated in connection
therewith, regardless of whether the same are in existence on the date of this Agreement.

                         5.4.3     Acknowledgment of Inspection. Purchaser acknowledges and agrees that
(a) this Agreement gives Purchaser the opportunity to inspect the Property and its operation, (b) if this
transaction is consummated, Purchaser will be purchasing the Prope1iy pursuant to Purchaser's independent
examination, study, inspection and knowledge of the Property, and (c) Purchaser is relying upon its own
determination of the value and condition of the Property and not on any information provided or to be
provided by Seller. Purchaser is relying solely upon its own inspections, investigations, research and
analyses in entering into this Agreement and is not relying in any way upon any representations or
warranties (except those expressly provided in Article 5), statements, plans, specifications, cost estimates,
studies, reports, descriptions, guidelines or other information or material furnished by Seller or its
representatives to Purchaser or its representatives, whether oral or written, express or implied, of any nature
whatsoever regarding any such matters. With respect to any Personal Property being conveyed hereunder,
Purchaser shall not rely on any list of such property compiled by Seller.

                  5.4.4 RELEASE. PURCHASER HEREBY RELEASES SELLER AND ANY
SERVICER, AGENT, REPRESENTATIVE, MANAGER, AFFILIATE, OFFICER, PARTNER,
SHAREHOLDER OR EMPLOYEE OF SELLER (A "SELLER RELATED PARTY") FROM ALL
CLAlMS, LOSSES, DAMAGES, LIABILITIES, COSTS AND EXPENSES WHICH PURCHASER OR
ANY PARTY RELATED TO OR AFFILIATED WITH PURCHASER (A "PURCHASER RELATED


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PARTY") HAS OR MAY HAVE ARISING FROM OR RELATED TO ANY MATTER OR THING
RELATED TO THE PHYSICAL CONDITION OF THE PROPERTY, ANY CONSTRUCTION
DEFECTS, ANY ERRORS OR OMISSIONS IN THE DESIGN OR CONSTRUCTION OF THE
PROPERTY AND ANY ENVIRONMENTAL CONDITIONS AT, IN, ON OR UNDER THE
PROPERTY, AND NEITHER PURCHASER NOR A PURCHASER RELATED PARTY WILL LOOK
TO SELLER OR ANY SELLER RELATED PARTY IN CONNECTION WITH THE FOREGOING FOR
ANY REDRESS OR RELIEF.

                  5.4.5 ASSUMPTION. EFFECTIVE AS OF THE DATE OF CLOSING
PURCHASER WILL ASSUME ALL OF SELLER'S LIABILITIES AND OBLIGATIONS WITH
RESPECT TO THE LEASES, HOTEL CONTRACTS, BOOKINGS AND PERMITS (TO THE EXTENT
SUCH PERMITS ARE ASSIGNED OR TRANSFERRED).

                 5.4.6  SURVIVAL. THE ACKNOWLEDGMENTS AND AGREEMENTS OF
PURCHASER SET FORTH IN THIS ARTICLE 5 WILL SURVIVE THE CLOSING.

                   5.4.7 PERSONAL PRO PERTY: INTA GIBLE PROPERTY.   SELLER
MAKES NO REPRESENTATION OR WARRANTY WHATSOEVER, EXPRESS OR IMPLIED, AS TO
SELLER'S TITLE TO THE PERSONAL PROPERTY OR THE INTANGIBLE PROPERTY.

        6.      CONDITIONS PRECEDENT TO CLOSING.

                6.1      Conditions for the Benefit of Purchaser. The obligation of Purchaser to
consummate the conveyance of the Property hereunder is subject to the full and complete satisfaction or
waiver of each of the following conditions precedent:

                         6.1.1  The representations and warranties of Seller contained in this Agreement
shall be true, complete and accurate in all material respects, on and as of the date hereof and the Date of
Closing as if the same were made on and as of such date.

                         6.1.2 Seller shall have performed each and every material obligation and
covenant of Seller to be performed hereunder unless performance thereof is waived by Purchaser.

                          6.1.3   There has been no material and adverse change to the condition of the
Property since the last day of the Due Diligence Period, normal wear and tear and damage by casualty and
condemnation excepted, with any change in condition due to casualty or condemnation to be controlled by
the provisions of Article 9.

                 6.2     Waiver of Conditions. Purchaser shall have the right to waive some or all of the
foregoing conditions in its sole and absolute discretion; provided, however, that no such waiver shall be
effective or binding on Purchaser unless it is in writing and executed by an authorized officer of Purchaser.

                6.3     Conditions for the Benefit of Seller. The obligation of Seller to consummate the
conveyance of the Property hereunder is subject to the full and complete satisfaction or waiver of each of
the following conditions precedent:

                         6.3.1    Receipt by Seller of all requisite approvals including, but not limited to,
the approval of servicers to Seller or to Seller's sole member (including, without limitation, the necessary
committee approvals of CWCapital), trustee approval and all other approvals that may be required pursuant
to any documents which govern Seller.




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                      6.3.2 Receipt by Seller of any and all required consents to the transfer of any
Assumed Contract, permit, Equipment Lease, and/or Lease to be assigned to Purchaser at Closing.

                        6.3.3 Purchaser shall have performed each and every material obligation and
covenant of Purchaser to be performed hereunder unless performance thereof is waived by Seller.

                            6.3.4 Receipt by Seller of a release of all obligations under the Operating
Agreement (as defined in Section 8.4) affecting the Property and Licensor's (as defined in Section 8.4)
consent to the sale of the Property pursuant to the tenns of the Operating Agreement, in a form acceptable
to Seller in its sole discretion.

                 6.4     Waiver of Conditions. Seller shall have the right to waive some or all of the
foregoing conditions in its sole and absolute discretion; provided, however, that no such waiver shall be
effective or binding on Seller unless it is in writing and executed by an authorized officer of Seller.

                   6.5     Failure of a Condition. In the event any of the conditions set forth in this Article
6 are not fulfilled or waived, this Agreement shall terminate, and the Deposit shall be returned to Purchaser,
as Purchaser's sole remedy and neither party shall have any obligations to the other, other than those
indemnification obligations which expressly survive.

         7.      CLOSING COSTS AND PRORATIONS.

                 7.1     Purchaser's Costs.     Purchaser will pay the following costs of closing this
transaction :

                        7.1.1   All recording fees and any and all state, county and city recordation,
documentary or transfer taxes which shall be based on the Purchase Price defined in Section 2.1 above;

                           7.1.2 All premiums, fees and costs associated with the issuance of any Title
Policy as well as for all premiums, fees and costs associated with the issuance of a mortgagee title insurance
policy, and one-half (1/2) of the settlement fees and other charges of the Title Company due in connection
with the closing of this transaction;

                         7.1.3    The cost of the Survey;

                         7.1.4 The fees and disbursements of Purchaser's counsel and any other
expense(s) incurred by Purchaser or its representative(s) in inspecting or evaluating the Property or closing
this transaction, including all fees and inspection charges or other expenses to transfer the Intangible
Property, as determined by the applicable vendor;

                        7.1.5 Any and all costs and expenses in connection with obtaining financing for
the purchase of the Property, including without limitation any recordation or transfer taxes required to be
paid upon the recordation of any deed of trust, mortgage or other security agreement executed and recorded
in connection with such financing;

                         7.1.6    Any sales taxes payable with respect to any personal property included
within the Property;

                         7.1.7    Intentionally Omitted;




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                         7.1.8    Any and all costs in connection with the transfer to Purchaser of the
Vehicle; and

                        7.1.9 Any and all fees or other charges incurred in connection with assumption
of the Equipment Lease, or if any consent to the assumption of the Equipment Lease is not received by the
Date of Closing, any and all fees, costs, and expenses incurred by Seller in connection with tennination of
the Equipment Lease.

                 7.2      Seller's Costs. Seller will pay the following costs of closing this transaction:

                         7.2.1   One-half (1/2) of the settlement fees and charges of the Title Company due
in connection with the closing of this transaction;

                          7.2.2   The fees and disbursements of Seller's counsel;

                          7.2.3   The fees of Seller's Broker referred to in Section 5.3, above; and

                          7.2.4 All release fees and other charges required to be paid in order to release
from the Property the lien of any mortgage or other security interest which Seller is obligated to remove
pursuant to the terms of this Agreement.

                  7.3      Prorations. Guest, convention, room, food, beverage, and all other charges and
revenues for services rendered and the operation of all departments of the Property as follows: all food and
beverage revenue (if any) as of 11 :59 p.m. Eastern Time, on the day before the Date of Closing (the "Cut-
off Time") and the guest ledger for guests staying at the Property on the night before the Date of Closing,
for that night only, shall be counted and shall be retained by Seller. All revenues for days and nights
preceding or commencing prior to the Date of Closing shall be allocated to and retained by Seller and all
revenues for the night commencing on the Date of Closing and days following the Date of Closing shall
accrue to the benefit of Purchaser and Purchaser shall purchase, for cash, at Closing the guest ledger
allocated to Seller for hotel guests staying through the day of Closing. Purchaser shall purchase all cash in
petty cash accounts and cash registers at the Property on the Date of Closing, but all checks, notes, security
and other evidence of indebtedness located at the Property on the Date of Closing and balances on deposit
to the credit of the Seller with banking institutions (specifically including, but not limited to, reserves held
by or for the benefit of the Seller) are and shall remain the property of the Seller and are not included in
this sale. Purchaser shall forward to Seller, promptly upon receipt (but without recourse or warranty of any
kind with respect to any endorsement by Purchaser on checks therefor), any and all revenues due to Seller
hereunder and collected by Purchaser following Closing. Seller and Purchaser acknowledge and agree that
no re-proration shall occur post-Closing for any reason, known or unknown at the time of Closing or
thereafter, and all proration figures included in the Settlement Statement (as defined in Section 8.1. 7 below)
shall be final upon execution by the parties.

                         7.3.1   Food and Beverage Inventory. The Purchase Price does not include
payment for all opened and unopened food and beverage inventory to the extent such transfer to Purchaser
is permitted by applicable laws. Purchaser shall pay for unopened food and beverage inventory (save and
except the alcoholic beverage inventory) as of the Date of Closing, in addition to the Purchase Price.

                        7.3.2 Advance Payments and Depo its. Advance payments and deposits, if any,
for bookings with respect to a period after the·Cut-Off Time shall be credited to the Purchaser.




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                        7.3.3    Receivables. Purchaser shall purchase all accounts receivable due as of
11 :59 p.m., Eastern Time, the day before the Date of Closing (the "Accounts Receivable"), in addition to
the Purchase Price.

                          7.3.4 Accounts Payable. Seller shall, in the ordinary course of business, but
subject to any provisions of this Agreement to the contrary, pay or cause to be paid all liquidated liabilities
and obligations of the Property incurred through the Date of Closing allocable to any period of Seller's
ownership prior to the Date of Closing, including all accounts payable, trade payable, rents, license and
permit fees, payments under equipment leases and service contracts, impositions and employee
compensation. Notwithstanding the foregoing, it is understood that Seller or its property manager may
postpone payment of an account payable which is the subject of a bona fide dispute or in case final bills are
not rendered until after the Date of Closing. The provisions of this Section will survive Closing.

                         7.3.5 Insurance. Seller's insurance will be canceled on the Date of Closing and
Seller will retain reimbursement rights for all prepaid premiums and proceeds of insurance for matters
occurring prior to the Closing.

                         7.3.6 Compensation. Regular periodic compensation of the Existing Employees
(as defined in Section 8.3) of the Property. The compensation of the employees working as of the Cut-off
Time will be prorated as of the end of their respective shifts.

                         7.3.7 Utili Deposits. Seller shall close out any accounts with utility companies
and shall have the right to receive any and all deposits held on behalf of Seller by utility companies with
respect to the Property.

                         7.3.8 Other. Such items as are provided for in this Agreement or are normally
prorated and adjusted in the sale of a hotel not otherwise provided for above, including without limitation,
all petty cash funds and cash in house banks, all deposits and prepaid items which inure to the benefit of
Purchaser and estimates for invoices for any operating expenses which are unbilled as of the Date of Closing
but which shall include expenses applicable to a time period on or after the Date of Closing), will be
transferred to Purchaser provided Seller will be paid therefor with such charges and credits reflected on the
Settlement Statement.

                          7.3.9 Reconciliations. Purchaser acknowledges and agrees that Seller shall not
be required to prepare or complete any reconciliation of expenses of any kind to determine if any third
parties have overpaid or underpaid expenses for the year in which Closing occurs or any year prior to the
Date of Closing. Upon the consummation of Closing, Purchaser shall be responsible for all obligations as
Property owner under the Intangible Property and any other matters recorded against the Property in
accordance with the Assignment and Assumption Agreement (as defined in Section 8.1.2 below), including
preparation and/or completion of any outstanding reconciliation of expenses of any kind required under the
Intangible Property and any other matters recorded against the Property, as well as refunding third parties
for any overpaid amounts or collecting from third parties any underpaid amounts determined by such
reconciliation, regardless of whether such obligations of Property owner arose prior to the Date of Closing.
Seller and Purchaser acknowledge and agree that no post-Closing re-proration shall occur based on
Purchaser's reconciliations of expenses.

                 7.4      Taxes. General real estate taxes and special assessments, personal property taxes
and other governmental charges relating to the Property due and payable for the year in which Closing
occurs shall be prorated with respect to the Property as of the day before the Date of Closing with Seller
bearing responsibility for such taxes and assessments prior to the Date of Closing and Purchaser bearing
responsibility for such taxes and assessments as of the Date of Closing and thereafter. If Closing shall occur


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before the statement for taxes and special assessments are issued for the year in which Closing occurs, the
apportionment of taxes for such year shall be based upon the product of multiplying the 2018 net assessment
value of $8,740,640.00 identified in that certain Real Estate Assessment Change Notice dated January 31,
2019 issued by the Department of Finance, Office of the Assessor of the City of Norwalk, Connecticut for
the Property (the "2018 Revaluation") by the mill rates in the 2017 Grand List for the Property. Purchaser
and Seller acknowledge and agree that the 2018 Revaluation is the result of Seller's appeal of the real estate
taxes for the Property, which appeal was resolved prior to the Effective Date herein, and resulted in a
reduced assessed value of the Property for the real estate tax year commencing July I, 2019 through June
30, 2020. Purchaser and Seller further acknowledge and agree that the 2018 Revaluation determines the net
assessment value for the Property for the period from July I, 2019 through June 30, 2024, unless otherwise
further appealed during such period. Purchaser hereby covenants and agrees to pay a pro-rata portion based
on its period of ownership (i.e., as of the Date of Closing) of the costs and expenses incurred by Seller in
connection with the 2018 Revaluation for the period commencing July I, 2019 through June 30, 2024. If,
subsequent to Closing, Purchaser shall appeal the assessed valuation of the Property for any real estate tax
year including the Closing, and there is issued after Closing an administrative ruling, judicial decision or
settlement by which the assessed value of the Property for such tax year is adjusted, then Purchaser
acknowledges and agrees that Seller shall not be responsible for any portion of any costs and expenses
incurred by Purchaser in connection with such appeal.

                  7.5     In General. Any other costs or charges of closing this transaction not specifically
mentioned in this Agreement shall be paid and adjusted in accordance with local custom or ordinance in
the jurisdiction in which the Property is located.

                 7.6     Purpose and lntent. Except as expressly provided herein, the purpose and intent
as to the provisions of prorations and apportionments set forth in this Article 7 and elsewhere in this
Agreement is that Seller shall bear all expenses of ownership and operation of the Property and shall receive
all income therefrom accruing through midnight of the day preceding the Closing and Purchaser shall bear
all such expenses and receive all such income accruing thereafter.

        8.       CLOSING AND ESCROW.

                8.1    Seller's Deliveries. Seller shall deliver either at the Closing or by making available
at the Property, as appropriate, the following original documents, each executed and, if required,
acknowledged:

                       8.1.1     A Special Warranty Deed, in the form attached hereto as Schedule 8.1.1
(the "Deed"), conveying title to Purchaser of the Property, subject only to the Permitted Exceptions.

                          8. 1.2 An assignment of Intangible Property to Purchaser by way of an
assignment and assumption agreement, in the form attached hereto as Schedule 8.1.2 (the "Assignment
and Assumption Agreement"), conveying to Purchaser Seller's rights, title and interest in and to the
Intangible Property attributable to the Property.

                      8.1.3 Originals (to the extent in Seller's possession, custody or control) of all of
the Leases and Assumed Contracts.

                         8.1.4   An affidavit pursuant to the Foreign Investment and Real Property Tax
Act.

                        8.1.5 Appropriate evidence of authority, capacity and status of Seller as
reasonably required by Ti°tle Company.



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                          8.1.6 An "Owner's Affidavit", in fonn reasonably acceptable to Seller and the
Title Company and sufficient for the Title Company to delete any exceptions for (a) mechanics' or
materialmen's liens arising from work at the Property which is the responsibility of Seller hereunder, (b)
parties in possession, other than tenants as tenants only, and, (c) matters not shown in the public records.

                         8. I .7   A joint settlement statement (the "Settlement Statement"), prepared by
the Title Company.

                          8. 1.8 A quitclaim bill of sale in the form attached hereto as Schedule 8.1.8 (the
"Bill of Sale"), transferring to Purchaser all of Seller's right, title and interest in the Personal Property,
including but not limited to Seller's right, title and interest, if any, in the Vehicle.

                      8.1.9 A tax proration agreement in the form attached hereto as Schedule 8.1.9
(the "Tax Proration Agreement").

                        8.1.10 Such other documents, certificates and other instruments as may be
reasonably required to consummate the transaction contemplated hereby.

                8.2     Purchaser's Deliveries. At the Closing, Purchaser shall (a) pay Seller the Purchase
Price as required by, and in the manner described in, Article 2 hereof, and (b) execute and deliver the
following documents:

                         8.2.1     The Assignment and Assumption Agreement and Bill of Sale.

                          8.2.2 Evidence of Purchaser's authority, and the authority of the person
executing any documents at Closing on behalf of Purchaser, acceptable to Seller and the Title Company, to
enter into the transactions contemplated by this Agreement.

                         8.2.3     The Settlement Statement.

                         8.2.4     The Tax Proration Agreement.

                           8.2.5 A non-affiliation certificate affinning Purchaser is not a Certificateholder,
the Trustee, its Affiliates or Interested Person under the PSA in the form attached hereto as Schedule 8.2.5
(the "Certificate of Non-Affiliation").

                        8.2.6 Such other documents, certificates and other instruments as may be
reasonably required to consummate the transaction contemplated hereby.

                  8.3     Employees. Purchaser acknowledges that all employees at the Property ("Existing
Employees") are employed by the management company currently at the Property. Purchaser or its
manager agree to make employment opportunities available to a sufficient number of the Existing
Employees in order that the actions of the parties pursuant to this Agreement will not trigger the application
of the Worker Adjustment and Retraining Notification Act (or similar local or state laws or regulations)
(collectively, the "WARN ACT"). Purchaser shall assume all risk and liability for any complaint filed by
an employee of the Property under the WARN Act due to his/her failure to receive sixty (60) days' notice
oftennination, and Purchaser shall indemnify and hold Seller hannless for same; however, this assumption
and indemnification shall only apply to such a complaint (a) brought by an employee of Seller or Seller's
agent actively employed on the Effective Date and (b) brought only in connection with Purchaser's failure
to rehire, within six (6) months of the Date of Closing, a sufficient number of such active employees such




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that a "mass layoff' does not occur within the meaning of the WARN Act. The terms and provisions of
this Section will survive the Closing.

                 8.4    Temporarv Operator's Agreement. Purchaser acknowledges that the Property is
operating as the DoubleTree by Hilton Hotel Norwalk, whose "Licensor" is Hilton Franchise Holding LLC,
a Delaware limited liability company (the "Operating Agreement"). Purchaser may, at its sole cost and
expense, make application for approval to continue to operate the Property as the DoubleTree by Hilton
Hotel Norwalk ("Franchise Approval"), pursuant to an agreement with the Licensor thereof (the "New
Franchise Agreement"). In no event later than five (5) days after the Effective Date, Purchaser further
covenants and agrees to timely submit to Licensor, with prompt written notice to Seller, all applications,
documents, fees and charges requested by Licensor in order for Licensor to approve the New Franchise
Agreement. Seller, at Purchaser's expense, agrees to reasonably cooperate with Purchaser in connection
with Purchaser's obtaining Franchise Approval.

                           8.4.1    Termination Fees. Seller shall terminate the Operating Agreement as of
Closing. If Licensor charges any amount to Seller in connection with the termination of the Operating
Agreement, then upon Closing Purchaser shall pay, or if Purchaser has not obtained Franchise Approval
prior to the Date of Closing, then at Closing Purchaser shal I pay or escrow with the Title Company, such
damages, liquidated damages, termination fees or other costs and fees payable and satisfactory to the
Licensor to execute a termination and release of Seller's Operating Agreement (collectively the
"Termination Fees"). In the event of such escrow, if, subsequent to Closing, Purchaser fails to obtain
Franchise Approval or Licensor declines Purchaser's application for Franchise Approval, Purchaser shall
notify Seller of same as soon as possible, such escrowed funds shall be released to Licensor and Purchaser
shall be liable to Seller as set forth herein.

                          8.4.2 De-Identification. At Closing, Seller shall, at Purchaser's cost, perform
all de-identification obligations under the Operating Agreement to the extent applicable and as directed by
the Licensor (the "De-Identification Obligations"). If the De-Identification Obligations are not completed
on or before the Date of Closing, Purchaser shall pay an amount equal to the estimated costs of the De-
Identification Obligations, which amount shall be held in escrow by the Title Company in accordance with
an escrow agreement to be executed by Seller, Purchaser and the Title Company on or before the Date of
Closing. Purchaser shall allow Seller and its successors, assigns and agents reasonable access to the
Property after the Closing in order for Seller to fulfill all of its De-Identification Obligations under the
Operating Agreement and Purchaser shall be solely responsible for all expenses incurred by Seller in
connection with such De-Identification Obligations.

                            8.4.3   Indemnification. In the event Licensor declines Purchaser's application
for Franchise Approval, Purchaser agrees to notify Seller of same as soon as possible, and Seller shall have
the right, in its sole discretion to either (i) terminate this Agreement or (ii) proceed to Closing. Purchaser
shall be liable to Seller for de-identification costs, liquidated damages, charges and fees due to Licensor
upon demand, if any. Purchaser shall indemnify, defend, and hold harmless Seller, Seller's Sole
Member/Manager and Seller's servicers, including but not limited to CWCapital Asset Management LLC
(collectively, the "Indemnified Parties") from and against any and all actual and contingent liability,
damages, loss, costs or expenses, including, without limitation, reasonable attorneys' fees and expenses and
court costs, incurred by Indemnified Parties as a result of: (a) an act or omission by Purchaser, its agents,
employees or representatives giving rise to a claim or demand against the Indemnified Parties under Seller's
Operating Agreement after the Date of Closing (the "Indemnification Period"); (b) any claim of alleged
breach by Seller of the Operating Agreement; or (c) any occurrence giving rise to a claim or demand against
Indemnified Parties under the Operating Agreement involving the Property which occurs during the
Indemnification Period, including without limitation any casualty event at the Property. The parties shall



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enter into an indemnification agreement in substantially the form attached hereto as Schedule 8.4.3, subject
to revision by Seller in its sole discretion.

                         8.4.4    Survival. The provisions of this Section 8.4 shall survive Closing.

                 8.5      Liquor L icense. Seller acknowledges that a portion of the Prope1ty is currently
affected by that certain Liquor Pennit, Permit Number LIH.0001902-C, dated effective October 3, 2018,
and expiring October 2, 2019 (the "Liquor License") identifying Commonwealth Lodging Management,
LLC (the "Property Manager") as the Backer under the Liquor License. Purchaser acknowledges and
agrees that transfer of the Liquor License is prohibited by Connecticut law. Therefore, the Liquor License
shall not be transferred to Purchaser at Closing and if applicable, Purchaser may obtain a separate license
or permit as required by applicable state and local regulatory agencies. Purchaser obtaining a separate
license or permit shall not be a condition precedent to Closing.

                          8.5.1  Affidavit. Seller.agrees to cause the Property Manager to provide a signed
Affidavit of Seller Unpaid Obligations within five (5) business days of Purchaser's request for said
affidavit, provided that Purchaser shall make such request, if at all, within one (I) business day following
the expiration of the Due Diligence Period.

                         8.5.2 Notice. Within ten (10) days following the expiration of the Due Diligence
Period, Purchaser shall provide written notice to Seller (the "Liquor License Notice") confirming that
Purchaser has submitted applications to obtain all state, county and city liquor licenses, as applicable. The
Liquor License Notice will include a copy of all documents required for such applications (the "License
Application") and proof that the completed License Application has been submitted to the requisite
authorities, as required pursuant to applicable law. Five (5) business days prior to the Date of Closing,
Purchaser shall provide a copy of the liquor license issued by the requisite authorities to Purchaser
pertaining to the Property.

                8.6     Possession.     Purchaser shall be entitled to possession of the Property at the
conclusion of the Closing.

                8. 7     Escrow Closing. Purchaser and Seller ( or their respective counsel on behalf of
Purchaser and Seller) shall execute letters of escrow closing instructions (the "Closing Instructions")
which will provide that, on the Date of Closing: (a) Seller and Purchaser shall each deposit with Title
Company all of the documents and instruments described in Sections 8.1 and 8.2, above (the "Closing
Documents"); and (b) Purchaser shall deposit with Title Company the balance of the Purchase Price
required to be paid after application of the Deposit thereto and all prorations, adjustments and credits
required to be made under this Agreement, (the "Adjusted Purchase Price"), all of which shall be set fo1th
on, and mutually agreeable pursuant to, a settlement statement executed by both Purchaser and Seller at
Closing. Upon receipt of the Adjusted Purchase Price, and the satisfaction of all other conditions set forth
in the Closing Instructions, the Title Company shall be authorized and directed to disburse the Adjusted
Purchase Price to Seller or its designee(s), record the Deed among the real property records of the Town of
Norwalk, Connecticut, and release the remaining Closing Documents to the appropriate parties, all in strict
accordance with the Closing Instructions.

        9.       DAMAGE, DESTRUCTION AND CONDEMNATION.

                 9. I     Casualty. Except as provided herein, Seller assumes all risk of loss or damage to
the Property by fire or other casualty until consummation of Closing, at which time all risk of loss or damage
to the Property by fire or other casualty shall be transferred to Purchaser. If at any time after the Effective
Date but on or prior to the Date of Closing any portion of the Property is destroyed or damaged as a result



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of fire or any other cause whatsoever, Seller shall promptly give written notice thereof to Purchaser. If the
estimated cost to repair the damage or destruction exceeds $250,000 as reasonably estimated by Seller,
Purchaser shall have the right to terminate this Agreement by written notice to Seller with in ten ( 10) days
following the date upon which Purchaser receives Seller's written notice of the destruction or damage, in
which event this Agreement shall tenninate, the Deposit shall be returned to Purchaser and neither party
shall have any further obligation to the other, other than those obligations that expressly survive termination
of this Agreement. If Purchaser does not elect to so terminate this Agreement within said ten (I 0) day
period, or if the cost of repair is equal to or less than $250,000, this Agreement shall remain in full force
and effect and the parties shall proceed to Closing without any reduction or adjustment in the Purchase
Price, except that all insurance proceeds will be assigned to Purchaser and Seller will pay to Purchaser any
deductible under Seller's insurance policy.

                  9.2     Condemnation. In the event, at any time on or prior to the Date of Closing, any
action or proceeding is filed, under which the Property, or any portion thereof, may be taken pursuant to
any law, ordinance or regulation or by condemnation or the right of eminent domain, Seller shall promptly
give written notice thereof (which notice shall describe the type of action being taken against the Property,
and which portions of the Property will be affected thereby) to Purchaser. If the taking would substantially
prevent Purchaser from continuing the existing use of the Property, then Purchaser shall have the right to
terminate this Agreement by written notice to Seller within ten ( 10) days following the date upon which
Purchaser receives Seller's written notice of such action or proceeding, in which event this Agreement shall
tem1inate, the Deposit shall be returned to Purchaser and neither party shall have any further obligation to
the other, other than those obligations that expressly survive termination of this Agreement. If Purchaser
does not elect to so terminate this Agreement within said ten (I 0) day period, this Agreement shall remain
in full force and effect and the parties shall proceed to closing without any reduction or adjustment in the
Purchase Price, except that all condemnation proceeds will be assigned to Purchaser.

        10.      FAILURE OF CONDITIONS PRECEDENT; DEFAULT AND REMEDIES.

                  10.1   Failure of Conditions Precedent. If any of the conditions precedent stated in
Article 6 have not occurred or been satisfied on or before the Date of Closing, Purchaser or Seller may: (a)
terminate this Agreement by written notice to the appropriate party on or before the Date of Closing, in
which event the appropriate party shall be entitled to receive disbursement of the Deposit and neither party
shall have any obligations to the other, except for those indemnification obligations which expressly survive
Closing, or (b) to waive such conditions precedent and proceed to Closing.

                 10.2     Purchaser Default. If Purchaser is in default of one or more of Purchaser's
obligations under this Agreement other than a failure to timely close, then Seller may give notice to
Purchaser (with a copy to Title Company) specifying the nature of the default. Purchaser shall have five
(5) business days after receiving that notice, but in no event beyond the Date of Closing, within which to
cure that default. If Purchaser fails to cure that default within that period, then Seller's sole remedy for
such default shall be to terminate this Agreement by giving notice of such termination to Purchaser (with a
copy to Title Company) and receive the Deposit as liquidated damages. If Seller does so terminate this
Agreement, then Title Company shall pay the Deposit to Seller.

            10.3   Liquidated Damages. SELLER AND PURCHASER AGREE THAT PAYMENT
OF THE DEPOSIT TO SELLER UNDER THIS ARTICLE 10 SHALL BE AS LIQUIDATED DAMAGES
AND NOT AS A PENAL TY.

                10.4    Seller Default. If Seller is in default of one or more of Seller's material obligations
under this Agreement other than a failure to timely close (for which there shall be no notice and cure period),
then Purchaser shall give notice to Seller (with a copy to Title Company) specifying the nature of the



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default. Seller shall have five (5) business days after receiving such notice, but in no event beyond the Date
of Closing within which to cure the default. In the event Seller shall: (a) fail to sell, transfer and assign the
Property to Purchaser in violation of the terms of this Agreement, and/or (b) fail to perform any other
material obligation of Seller hereunder beyond any applicable notice and cure period, and/or (c)
intentionally breach any warranty made or granted by Seller under this Agreement, which breach is not
cured by the Date of Closing and/or (d) have breached any representations of Seller contained herein in any
material respect, Purchaser shall as its sole and exclusive remedy, be entitled to: I) declare this Agreement
to be null and void and demand and receive the return of the Deposit whereupon, neither party shall have
any further rights, duties or obligations hereunder except as otherwise provided herein; and 2) to request
reimbursement from Seller of the reasonable out-of-pocket expenses incurred by Purchaser solely in
connection with this Agreement (not including any fees, charges or expenses of any kind for any financing
being procured by Purchaser) from the Effective Date until notice of Seller's default, not to exceed Ten
Thousand and No/100 Dollars ($10,000.00. Purchaser specifically waives any and all right to (i) file or
record any !is pendens or any other lien or encumbrance against the Property; (ii) specific performance or
other equitable relief; or (iii) consequential or punitive damages.

                         10.4.1 Waiver of Default. If Purchaser does not duly notify Seller of the default
and does not give Seller a notice of tennination hereunder, then (i) the default shall be treated as waived by
Purchaser and (ii) at Closing, Purchaser shall accept the Property subject to the default without any
reduction in the Purchase Price and without any Claims against Seller on account of the default.

                 10.5     Termination. Upon any termination of this Agreement pursuant to any right of a
party to terminate set forth in this Agreement, (a) the Deposit shall be paid over to the party entitled to the
same, (b) all documents deposited by Purchaser and Seller into escrow shall be returned by the Title
Company to the party depositing the same, and (c) all copies of all Property Documents provided to
Purchaser by Seller shall be returned to Seller, whereupon the parties will have no continuing liability to
each other unless otherwise expressly stated in any provision of this Agreement.

                  10.6    Attorneys' Pees. Notwithstanding anything to the contrary in this Agreement, in
the event that either Seller or Purchaser, as the case may be, shall bring a lawsuit against the other party for
breach of such party's obligations under this Agreement, the losing party shall pay the prevailing party's
costs and expenses incurred in connection with such litigation, including without limitation reasonable
attorneys' fees. The "prevailing party" shall be determined by the court hearing such matter.

         11.      NOTICES. Any notice required or permitted to be given hereunder may be served by a
party or its attorney and must be in writing and shall be deemed to be given when (a) hand delivered, or (b)
one (1) business day after pickup by United Parcel Service (Overnight), FedEx Express, or another similar
overnight express service, (c) transmitted by telecopy or facsimile machine, provided that confirmation of
the receipt of same is noted upon transmission of same by the sender's telecopy or facsimile machine, or
(d) transmitted by electronic correspondence, in any case addressed or sent to the parties at their respective
addresses set forth below:

         If to Seller:                       789 Connecticut Avenue Holdings, LLC
                                             c/o CWCapital Asset Management LLC, Special Servicer
                                             7501 Wisconsin Avenue, Suite 500 West
                                             Bethesda, Maryland 20814
                                             Attn: Legal Depa11ment

         With a copy to:                     Sheppard Mullin Richter & Hampton LLP
                                             2200 Ross Ave, 24th Floor
                                             Dallas, Texas 75201


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                                            Attn: Carolyn R. Benson, Esq.
                                            Phone: (469) 391-7421
                                            Fax:   (469) 391-7565
                                            CBenson@sheppardmullin.com

        If to Purchaser:                    DNA Lodging LLC
                                            c/o M7 Investment Fund I LLC, Manager
                                            105 Club Road
                                            Riverside, CT 06870
                                            Attn: Rahul Patel
                                            Phone: (646) 474-3177
                                            Fax: (646) 741-1381
                                            Email: r111p@d1rnlod!.!ing.com

        With a copy to:                     Kumar, Prabhu, Patel & Banerjee, LLC
                                            One Lakeside Commons, Suite 800
                                            990 Hammond Drive
                                            Atlanta, Georgia 30328
                                            Attn: Samir Patel
                                            Phone: (678) 443-2237
                                            Fax: (678) 443-2230
                                            Email: spatcl(a) kppbla-.,\•.com

or in each case to such other address as either party may from time to time designate by giving notice in
writing pursuant to this Article 11 to the other party. Telephone numbers are for informational purposes
only. Any and all notices to Seller shall be given to Seller's attorney. Effective notice will be deemed given
only as provided above, except as otherwise expressly provided in this Agreement.

        12.      MISCELLANEOUS.

                 12.1    Entire Agreement. This Agreement, together with the Schedules attached hereto,
all of which are incorporated by reference, is the entire agreement between the parties with respect to the
subject matter hereof, and no alteration, modification or interpretation hereof shall be binding unless in
writing and signed by both parties.

                 12.2    Severability. If any provision of this Agreement or its application to any party or
circumstances shall be determined by any court of competent jurisdiction to be invalid and unenforceable
to any extent, the remainder of this Agreement or the application of such provision to such person or
circumstances, other than those as to which it is so determined invalid or unenforceable, shall not be affected
thereby, and each provision hereof shall be valid and shall be enforced to the fullest extent permitted by
law.

                  12.3     Applicable Law. This Agreement shall be construed and enforced in accordance
with the internal laws of the State of Connecticut. Purchaser irrevocably consents and submits to the
nonexclusive jurisdiction of the courts of the state and federal district in which the Real Property is located
and waives any objection based on venue of forum non conveniens with respect to any action instituted in
those courts arising under this Agreement or in any way connected or related or incidental to the dealings
of Pur~haser and Seller in respect of this Agreement or any related transactions, in each case whether now
existing or later arising, and whether in contract, tort, equity or otherwise, and agrees that any dispute with
respect to any of those matters will be heard only in the courts described above.




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                 12.4     As ignability . Purchaser may not assign or transfer any of Purchaser's rights,
obligations and interests under this Agreement, to any person or entity without Seller's prior consent, which
consent shall not be unreasonably withheld, conditioned or delayed. Purchaser acknowledges and agrees
(1) to provide Seller with written notice not less than five (5) business days prior to the Date of Closing (the
"Assignment Notice"); (2) to include in such Assignment Notice the following: (i) a description of the
ownership interest in each assignee entity, (ii) copies of the governing documents, including without
limitation the operating agreement or bylaws (as applicable) for each assignee entity, and (iii)
documentation evidencing that all assignee entities are duly organized, validly existing, in good standing
under the laws of the state in which such entity was organized, and qualified to do business in the
jurisdiction in which the Property is located; and (3) that any assignment or other transfer must comply with
Sections 5.2.7, 5.2.8, 5.2.9, and Schedule 8.2.5. Upon any such assignment or other transfer, Purchaser and
such assignee or transferee shall be jointly and severally liable for the obligations of Purchaser under this
Agreement, which liability shall survive the assignment or transfer and the Closing.

                12.5     Successors Bound. This Agreement shall be binding upon and inure to the benefit
of Purchaser and Seller and their respective successors and permitted assigns.

                 12.6   No Public Disclosure. Prior to Closing, all press releases or other dissemination
of information to the media or responses to requests from the media for information relating to the
transaction contemplated herein shall be subject to the prior written consent of Purchaser and Seller.

                 12.7    Captions: Interpretatio n. The captions in this Agreement are inserted only as a
matter of convenience and for reference and in no way define, limit or describe the scope of this Agreement
or the scope or content of any of its provisions. Whenever the context may require, words used in this
Agreement shall include the corresponding feminine, masculine, or neuter fotms, and the singular shall
include the plural and vice versa. Unless the context expressly indicates otherwise, all references to
"Article" or "Section" are to sections of this Agreement.

                  12.8   No Partnership. Nothing contained in this Agreement shall be construed to create
a partnership or joint venture between the parties or their successors in interest or permitted assigns.

                 12.9    Time of Essence. Time is of the essence with respect to the perfotmance of the
obligations of Seller and Purchaser under this Agreement.

                   12.10 Counterpart . This Agreement may be executed and delivered in any number of
counterparts, each of which so executed and delivered shall be deemed to be an original and all of which
shall constitute one and the same instrument. Photocopies of the executed signature pages of this
Agreement sent by facsimile or transmitted electronically shall be treated as originals, fully binding and
with fu II legal force and effect.

             12.11        Recordation. Purchaser and Seller agree not to record this Agreement or any
memorandum hereof.

                 12.12 Proper Execution. This Agreement shall have no binding force and effect on either
party unless and until both Purchaser and Seller shall have executed and delivered this Agreement.

                 12.13 Waiver. No waiver of any breach of any agreement or provision contained herein
shall be deemed a waiver of any preceding or succeeding breach of any other agreement or provision herein
contained. No extension of time for the perfonnance of any obligation or act shall be deemed an extension
of time for the performance of any other obligation or act.




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                 12.14 Busin ess Days. If any date herein set forth for the performance of any obligations
by Seller or Purchaser or for the delivery of any instrument or notice as herein provided should fall on a
Saturday, Sunday or Legal Holiday (hereinafter defined), the compliance with such obligations or delivery
shall be deemed acceptable on the next business day following such Saturday, Sunday or Legal Holiday.
As used herein, the term "Legal Holiday" shall mean any local or federal holiday on which post offices are
closed in the District of Columbia.

                  12.15 Limitation of Liability . No present or future partner, director, officer, member,
shareholder, employee, advisor, affiliate, servicer or agent of or in Seller, Purchaser or any affiliate of any
of the foregoing will have any personal liability, directly or indirectly, under or in connection with this
Agreement or any agreement made or entered into under or in connection with the provisions of this
Agreement, or any amendment or amendments to any of the foregoing made at any time or times, heretofore
or hereafter. The limitations of liability contained in this paragraph will survive the termination of this
Agreement or the Closing, as applicable, and are in addition to, and not in limitation of, any limitation on
liability applicable to either party provided elsewhere in this Agreement or by law or by any other contract,
agreement or instrument. In no event will Seller or Purchaser be liable for any consequential, exemplary
or punitive damages under any circumstances in connection with this Agreement or the transaction
contemplated hereby.

                 12.16 Back~U p Contracts. Notwithstanding anything herein to the contrary, Seller
reserves the right to continue marketing the Property for sale and to entertain letters of intent regarding the
sale of the Property while this Agreement is outstanding, provided Seller shall not enter into any binding
back-up agreements with respect to the sale of the Property for so long as this Agreement is in force.

            12.17 WAIVER OF JURY TRIAL. PURCHASER WAIVESANYRIGHTTOTRIAL
BY JURY OF ANY CLAIM, DEMAND, ACTION OR CAUSE OF ACTION (I) ARISING UNDER THIS
AGREEMENT, (II) IN ANY WAY CONNECTED WITH OR RELATED OR INCIDENT AL TO THE
DEALINGS OF PURCHASER AND SELLER IN RESPECT OF THIS AGREEMENT OR RELATED
TRANSACTIONS, IN EACH CASE WHETHER NOW EXISTING OR LATER ARISING, AND
WHETHER IN CONTRACT, TORT, EQUITY, OR OTHERWISE. PURCHASER AGREES AND
CONSENTS THAT ANY SUCH CLAIM, DEMAND, ACTION, OR CAUSE OF ACTION WILL BE
DECIDED BY COURT TRIAL WITHOUT A JURY AND THAT SELLER MAY FILE A COPY OF
THIS AGREEMENT WlTH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF
PURCHASER TO THE WAIVER OF ITS RIGHT TO TRIAL BY JURY.

                 12.18 No Third Party Benefi cia1y . This Agreement is solely for the benefit of Purchaser
and Seller and Purchaser's permitted assigns. No other person or entity is entitled to the benefit or may
enforce any of the provisions of this Agreement, except where expressly provided herein to the contrary.

                  12.19 Purchaser Representation and Consen t. Purchaser acknowledges and confirms that
it has had every opportunity to obtain legal representation in this matter and, if the name of Purchaser's
counsel is not set forth in Article 11 hereof, then Purchaser has either intentionally declined to obtain
representation, or not advised Seller of its representation; further, Purchaser confinns that he is a
sophisticated purchaser of similar commercial properties, is familiar with all rights and remedies of
Connecticut law, and specifically waives any right to further representation. Purchaser confoms and
acknowledges that it is not relying on any legal advice from Seller, Seller's counsel, the Broker, or any
other party in this matter.

                 12.20 Section I 031 Like-Kind Exchange. Either Seller or Purchaser may consummate
the purchase of the Property as part of a so-called like kind exchange (the "Exchange") pursuant to Section
1031 of the Internal Revenue Code of 1986, as amended (the "Code"), provided that: (a) the Closing shall



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not be delayed or adversely affected by reason of the Exchange nor shall the consummation or
accomplishment of the Exchange be a condition to Purchaser's or Seller's obligations under this Agreement;
(b) either Seller or Purchaser may effectuate the Exchange through a qualified intermediary so long as
neither of their respective rights and obligations under this Agreement are adversely affected thereby; and
(c) neither Seller nor Purchaser shall be required to make an assignment of the purchase agreement for the
exchange property or be required to acquire or hold title to any real property for the purposes of
consummating the Exchange. Neither Seller nor Purchaser shall, by this agreement or acquiescence to the
Exchange, (i) have their rights under this Agreement adversely affected or diminished in any manner, or
(ii) be responsible for compliance with or be deemed to have warranted to the other that the Exchange in
fact complies with Section 1031 of the Code.

                    12.21 Prohibited Persons and Tran actions. Purchaser represents and warrants to
Purchaser's knowledge: (i) Purchaser is not a Prohibited Person (defined below); (ii) none of its investors,
affiliates or brokers or other agents (if any), acting or benefiting in any capacity in connection with this
Agreement is a Prohibited Person; (iii) the funds or other assets Purchaser will transfer to Seller under this
Agreement are not the property of, or beneficially owned, directly or indirectly, by a Prohibited Person; and
(iv) the funds or other assets Purchaser will transfer to Seller under this Agreement are not the proceeds of
specified unlawful activity as defined by 18 U.S.C. § 1956(c)(7). "Prohibited Person" means any of the
following: (a) a person or entity that is listed in the Annex to, or is otherwise subject to the provisions of,
Executive Order No. 13224 on Terrorist Financing (effective September 24, 2001) (the "Executive
Order"); (b) a person or entity owned or controlled by, or acting for or on behalf of any person or entity
that is listed in the Annex to, or is otherwise subject to the provisions of, the Executive Order; (c) a person
or entity that is named as a "specially designated national" or "blocked person" on the most current list
published by the U.S. Treasury Department's Office of Foreign Assets Control ("OFAC") at its official
website, http ://\.vww.treas.gov/offices/enforcement/ofac; (d) a person or entity that is otherwise the target
of any economic sanctions program currently administered by OF AC; or ( e) a person or entity that is
affiliated with any person or entity identified in clause (a), (b), (c) and/or (d) above. The foregoing
representations shall survive Closing and any termination of this Agreement.

        13.      ESCROW AGREEMENT.

                 13.1     Depos it . Title Company agrees to deposit the Deposit in an interest bearing
account, subject to the receipt from Purchaser of a form W-9 for the purposes of investing said funds and
to hold and disburse said funds, and any interest earned thereon, as hereinafter provided. Upon written
notification from Seller or Purchaser in accordance with the terms of this Agreement, Title Company shall
release the funds in accordance with and pursuant to the written instructions. In the event of a dispute
between any of the parties hereto sufficient in the sole discretion of Title Company to justify its doing so,
Title Company shall be entitled to tender unto the registry or custody of any court of competent jurisdiction
all money or property in its hands held under the terms of this Agreement, together with such legal pleading
as it deems appropriate, and thereupon be discharged.

                   13.2    T itle CompaJlV . Seller and Purchaser covenant and agree that in perforn1ing any
of its duties under this Agreement, Title Company shall not be liable for any loss, costs or damage which it
may incur as a result of serving as Title Company hereunder, except for any loss, costs or damage arising
out of its willful default or gross negligence. Accordingly, Title Company shall not incur any liability with
respect to (i) any action taken or omitted to be taken in good faith upon advice of its counsel given with
respect to any questions relating to its duties and responsibilities, or (ii) to any action taken or omitted to
be taken in reliance upon any docurnent, including any written notice of instruction provided for in this
Agreement, not only as to its due execution and the validity and effectiveness of its provisions, but also to
the truth and accuracy of any information contained therein, which Title Company shall in good faith




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believe to be genuine, to have been signed or presented by a proper person or persons and to confonn with
the provisions of this Agreement.

                 13.3    Indemnity. Seller and Purchaser hereby agree to indemnify and hold hannless
Title Company against any and all losses. claims, damages, liabilities and expenses, including without
limitation, reasonable costs of investigation and attorneys' fees and disbursements which may be imposed
upon or incurred by Title Company in connection with its serving as Title Company hereunder, except for
any loss. costs or damage arising out of its willful default or gross negligence. The provisions of this
Section 13.3 shall survive a termination of this Agreement.

        14.      DISCLOSURES.

                 14 .1   Asbestos. Asbestos is the name for a group of naturally occurring silicate minerals
that can be separated into fibers, and may cause health risks if disturbed or not in good condition. The
potential exists for preswned asbestos containing materials to be present on the Property. If Purchaser
desires additional information regarding asbestos, Purchaser should contact an appropriate professional.

                          14.1.1 Acknowledgement. Purchaser acknowledges receipt of that certain Phase
I Environmental Site Assessment dated May l 0, 2018 prepared by EBI Consulting (the "Phase I") and that
certain Asbestos Operations & Maintenance Plan dated September 19, 2017 prepared by EBI Consulting
(the "O&M") and Seller's compliance with applicable disclosure laws regarding asbestos, including
without limitation 29 C.F.R. § 1926.l 10l(n)(6). Purchaser further acknowledges that it shall, at its own
discretion, make its own evaluation of the Property with respect to asbestos. Seller makes no representation
or warranty regarding remediation or lack thereofregarding the asbestos identified in the Phase I and O&M.
Purchaser further agrees to indemnify, defend, and hold Seller harmless from any claims, demands,
attorney's fees, expenses, and liability if it is found at any time that asbestos is present on the Property. The
provisions of this Article~ ~ive Closing or the termination of this Agreement.

Purchaser's Initials ~

                14.2     Radon Gas. Radon is a naturally occurring radioactive gas that, when it has
accwnulated in a building in sufficient quantities, may present health risks to persons who are exposed to
it over time. Additional information regarding radon and radon testing may be obtained from the county
health department.

                         14.2.1 Acknowledgement and Waiver. Seller has no knowledge concerning the
existence ofradon gas on the Property. Purchaser agrees that Seller has no duty to investigate whether radon
gas is now or ever was present on the Property. Purchaser hereby releases and discharges Seller from any
claims, demands, fees, expenses, and liability if it is found that radon gas is present on the Property.
Purchaser further agrees to indemnify, defend, and hold Seller hannless from any claims, demands,
attorney's fees, expenses, and liability if it is found at any time that radon gas is present on the Property.
The provisions of this A~ ~l survive Closing or the termination of this Agreement.

Purchaser's Initialsµ

                 14.3    Wetlands. Wetlands are classified by and can include those areas that are
inundated or saturated by surface or groundwater at a frequency and duration sufficient to support, and that
under nonnal circumstances do support, a prevalence of vegetation typically adapted for life in saturated
soil conditions.
                                          I




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                             14.3.1 Acknowledgement. Purchaser acknowledges receipt of the Phase I and
Seller's compliance with applicable disclosure laws regarding the same. Purchaser further acknowledges
that it shall> at its own discretion, make its own evaluation of the Property with respect to any wetland areas.
Seller makes no representation or warranty regarding any wetland areas identified in the Phase I. Purchaser
further agrees to indemnify, defend, and hold Se1ler hannless from any claims, demands, attorney's fees,
expenses, and liability ifit is found at any time that wetlands are present on the Property. The provisions of
this Article 14 shall s u r v ~ ~ or the termination of this Agreement.

Purchaser's Initialsff

                14.4     Mold. Mold is naturally occurring and may cause health risks or damage to
property. If Purchaser desires additional information regarding mold, Purchaser should contact an
appropriate professional.

                          14.4.1 Acknowledgement. Purchaser acknowledges receipt of the Phase I and
Seller's compliance with applicable disclosure laws regarding the same. Purchaser further acknowledges
that it shall, at its own discretion, make its own evaluation of the Property with respect to mold. Seller
makes no representation or warranty regarding remediation or lack thereof regarding the mold identified in
the Phase I. Purchaser farther agrees to indemnify, defend, and hold Seller harmless from any claims,
demands, attorney's fees, expenses, and liability if it is found at any time that mold is present on the
Property. The provisi/Yns  of ~~ Article 14 shall survive Closing or the termination of this Agreement.

Purchaser's Initials         -
                       I


                                          [Signature Pages Follow/




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         IN WITNESS WHEREOF, Seller has executed this Agreement on the date set forth below, to be
effective as of the Effective Date.

                                             SELLER:

                                             789 Connecticut Avenue Holdings, LLC,
                                             a Maryland limited liability company

                                             By:      Wilmington Trust, National Association, as
                                                      Trustee, for the benefit of the Holders of COMM
                                                      20 l 5-CCRE23 Mortgage Trust, Commercial
                                                      Mortgage Pass Through Certificates (the
                                                      "Trust"), its Sole Member/Manager

                                             By:      CWCapital Asset Management LLC, a Delaware
                                                      limited liability company, solely in its capacity as
                                                        peciaJ erv· · to the Trust


                                             By:
                                             Name:    - - - , 1 ~ ~ ~ ~ + J r , J ~~   ~~.o::w:.-}-
                                             Title:
                                             Date:




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         IN WITNESS WHEREOF, Purchaser has executed this Agreement on the date set forth below,
to be effective as of the Effective Date.

                                            PURCHASER:




                                    I




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                        ACKNOWLEDGEMENT BY TITLE COMPANY

        IN Wl1NESS WHEREOF, Title Company has signed this Agreement for the limited purposes set
forth herein.

                                              TITLE COMPANY:

                                              FIRST AMERICAN TITLE INSURANCE
                                              COMPANY                    /!.
                                                                 . ---   ~' //,
                                              By:            I           .   /    -     -··-·--·-- ... ····- --····
                                              Name:
                                              Title:        /                    V.P.
                                              Date:


Address for Notices to Title Company:

       First American Title Insurance Company
       National Commercial Services
       1850 K Street NW, Suite 1050
       Washington, D.C. 20006
       Attention: Brian A. Lobuts, Vice President
       blobuts@firstam.com




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                                            SCHEDULE 1.1.1

                                        Real Property Description

Real property in the City of Norwalk, County of Fairfield, State of Connecticut, described as follows:

All that certain tract or parcel of land with the buildings and improvements thereon, situated in the City of
Norwalk in the County of Fairfield and State of Connecticut, shown and delineated on a certain map entitled
"NORWALK HOLIDAY INN Property of Norwalk Hotel Limited Partnership Norwalk - Connecticut"
Scale l" = 20' December 21, 1983" certified substantially correct by Gregory Surveyors Norwalk, Conn.,
which map is on file in the Office of the Town Clerk of said Norwalk, bearing Map #9486, and which
premises are bounded and described as follows:

Beginning at an iron pipe marking the boundary between said parcel and land now or formerly of the State
of Connecticut and thence North 23° 1O' IO" West 136.02 feet;

Thence continuing along land now or formerly of the State of Connecticut North 07° 01' 00" East 139.82
feet to the southerly line of U. S. Route # 1;

And proceeding thence along the Southeasterly line of U.S. Route #1 North 59° 57' 20" East 340 feet;

And thence Easterly 81.10 feet along the arc of the circle curving to the left and having radius of 2,557.0 I
feet;

And thence South 50° 17' 20" East 84.82 feet by land now or formerly of Fram atone Connectors USA Inc.;

And thence South 30° 38' 50" West27.20 feet, South 13° 04' 50" West37.80 feet, South 01° 51' 50" West
50.10 feet and South 01 ° 11' 50" West 235 feet;

And thence proceeding along other land now or formerly of Framatone Connectors USA Inc., South 78°
42' 00" West 184.12 feet;

And thence South 77° 36' 20" West 187.55 feet to the point or place of beginning.




                                              Schedule I. I. I
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                        SCHEDULE 1.1.3

                           Contracts

                       [TO BE ATTACHED]




                         Schedule 1.1.3
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                                     SCHEDULE 3.3

                                    Property Documents

1.   Most recent survey

2.   Contracts

3.   Leases

4.   Phase I Environmental Report




                                       Schedule 3 .3
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                                                   SCHEDULE 8.1.1

                                         Form of Special Warranty Deed

After Recording Return To:
First American Title Insurance Company
National Commercial Services
1850 K Street NW, Suite 1050
Washington, D.C. 20006
Attention: Brian A. Lobuts




                                         SPECIAL WARRANTY DEED



STATE OF CONNECTICUT                           §
                                               §
TOWN OF NORWALK                                §


        _ _ __ _ _ _ _ _ _ _, a _ _ _ _ _ _ _ _ __ ("Grantor"), whose mailing address is
c/o CWCapital Asset Management LLC, 7501 Wisconsin Avenue, Suite 500 West, Bethesda, Maryland
20814, for and in consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged from
                                    a _ _ _ _ _ _ _ _ ("Grantee"), whose mailing address is
_ _ _ _ _ _ _ _ _ _ _ ___ , has GRANTED, SOLD AND CONVEYED, and by these
presents does GRANT, SELL AND CONVEY, unto Grantee, the following described property:

                  (i)        That certain real property in the Town of Norwalk, County of Fairfield,
                             Connecticut, which is described on Exhibit A attached hereto and incorporated
                             herein by reference (the "Land");

                  (ii)       All buildings, structures, utility lines, utility facilities, utility improvements, street
                             and drainage improvements, and other improvements of any kind or nature located
                             in, on, or under the Land (all of the foregoing being referred to herein collectively
                             as the "Improvements"); and

                  (iii)      All appurtenances benefiting or pertaining to the Land or the Improvements,
                             including, without limitation, all of Grantor's right, title, and interest in and to all
                             development and utility rights and permits benefiting the Land and all streets,
                             alleys, rights-of-way, or easements adjacent to or benefiting the Land, and all strips
                             or pieces of land abutting, bounding, or adjacent to the Land (all of the foregoing
                             being referred to herein collectively as the "Appurtenances").

                             The Land, Improvements and Appurtenances are collectively referred to herein as
                             the "Property".




                                                    Schedule 8 .1.1
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         This conveyance is made and accepted subject and subordinate to (i) the lien of non-delinquent
taxes, assessments and other usual and customary charges assessed against the owners of real property in
the state in which the Land is located, (ii) the rights of tenants under unrecorded leases, (iii) building and
zoning laws, codes and regulations affecting the Property, including all proffers, special exceptions,
conditions, site plan approvals, and other similar matters, if any, relating to the zoning of the Property, and
(iv) the matters listed on Exhibit B attached hereto and incorporated herein by reference (collectively, the
"Permitted Exception s").

          TO HAVE AND TO HOLD the Property, together with all and singular the rights and
appurtenances thereto in anywise belonging unto Grantee, and Grantee's successors or assigns, forever; and,
subject to all of the matters set forth or referred to herein, Grantor does hereby bind itself and its successors
to WARRANT AND FOREVER DEFEND all and singular the Property, subject to the Permitted
Exceptions, unto Grantee, Grantee's successors and assigns, against every person whomsoever lawfully
claiming or to claim the same, or any part thereof, by, through or under Grantor, but not othe1wise;
provided, however that this conveyance is made by Grantor and accepted by Grantee subject to: (a) all of
the title exceptions revealed in or by the recorded documents and other matters affecting the Property; and
(b) all standby fees, taxes and assessments by any taxing authority for the current and all subsequent years,
and all liens securing the payment of any of the foregoing.

      GRANTEE ACKNOWLEDGES THAT GRANTOR HAS NOT MADE AND DOES NOT MAKE
ANY REPRESENTATIONS AS TO THE PHYSICAL CONDITION OF THE PROPERTY, OR ANY
OTHER MATTER AFFECTING OR RELATED TO THE PROPERTY. GRANTEE EXPRESSLY
AGREES THAT TO THE MAXIMUM EXTENT PERMITTED BY LAW, THE PROPERTY IS
CONVEYED "AS IS" AND "WITH ALL FAULTS", AND GRANTOR EXPRESSLY DISCLAIMS,
AND GRANTEE ACKNOWLEDGES AND ACCEPTS THAT GRANTOR HAS DISCLAIMED, ANY
AND ALL REPRESENTATIONS, WARRANTIES OR GUARANTIES OF ANY KIND, ORAL OR
WRITTEN, EXPRESS OR IMPLIED (EXCEPT AS TO TITLE AS HEREIN PROVIDED AND
LIMITED) CONCERNING THE PROPERTY, INCLUDING, WITHOUT LIMITATION, (i) THE
VALUE,     CONDITION,    MERCHANTABILITY,     HABITABILITY,     MARKETABILITY,
PROFITABILITY, SUITABILITY OR FITNESS FOR A PARTICULAR USE OR PURPOSE OF THE
PROPERTY, (ii) THE MANNER OR QUALITY OF THE CONSTRUCTION OR MATERIALS, IF
ANY, IN CORPORATED INTO THE CONSTRUCTION, OF ANY IMPROVEMENTS TO THE
PROPERTY; AND (iii) THE MANNER OF REPAIR, QUALITY OF REPAIR, STATE OF REPAIR OR
LACK OF REPAIR OF ANY SUCH IMPROVEMENTS. BY GRANTEE'S ACCEPTANCE OF THIS
DEED, GRANTEE REPRESENTS THAT GRANTEE HAS MADE (i) ALL INSPECTIONS OF THE
PROPERTY TO DETERMINE ITS VALUE AND CONDITION DEEMED NECESSARY OR
APPROPRIATE BY GRANTEE, INCLUDING, WITHOUT LIMITATION, INSPECTIONS FOR THE
PRESENCE OF ASBESTOS, PESTICIDE RESIDUES, HAZARDOUS WASTE AND OTHER
HAZARDOUS MATERIALS AND (ii) INVESTIGATIONS TO DETERMINE WHETHER ANY
PORTION OF THE PROPERTY LIES WITHIN ANY FLOOD HAZARD AREA AS DETERMINED BY
THE U.S. ARMY CORPS OF ENGINEERS OR OTHER APPLICABLE AUTHORITY.

                                          [Signature Page Follow~}




                                                Schedule 8.1.1
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       EXECUTED AND DELIVERED, effective as of the _ _ day of _ _ ___ , 20_


                                          GRANTOR:

Witnesses:


Print Name:                                   a Maryland _ _ _ _ _ __
              --------

                                              By:      - - - - - - - - - - -· as Trustee for the
                                                       Registered Holders of _ _ _ _ _ _ _ _ _ _.
Print Name:- - - - - - - -                             Commercial Mortgage Pass-Through Certificates
                                                       (the "Trust"), its Sole Member/Manager

                                              By:      CWCapital Asset Management LLC, a Delaware
                                                       limited liability company, solely in its capacity as
                                                       Special Servicer to the Trust


                                              By:
                                              Name:
                                              Title:


                                      ACKNOWLEDGMENT

STATE OF MARYLAND                     §
                                      §
COUNTY OF MONTGOMERY                  §

         BEFORE ME, the undersigned, a Notary Public, on this day personally appeared _ _ _ __
the _ __ _ _ _ _ of CWCapital Asset Management LLC, the special servicer to _ _ __ _, as
Trustee for the Registered Holders of _______ , the sole member and manager of
________. a _ _ _ _ _ _ _, known to me to be the person whose name is subscribed on the
foregoing instrument and acknowledged to me that same was executed for the purposes and consideration
therein expressed and in the capacity therein stated as the act and deed of said entity.

       GIVEN UNDER MY HAND AND SEAL OF OFFICE this the _ _ day of _ _ _ _, 20_


                                                       Notary Public, State of Maryland
                                                       My Commission Expires: _ _ _ __

                                                                                                      Prepared by:
                                                                           Sheppard Mullin Richter & Hampton LLP
                                                                                         2200 Ross Ave, 24th Floor
                                                                                               Dallas, Texas 75201
                                                                                                     39A V-292650




                                           Schedule 8.1.1
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                                             SCHEDULE 8.1.2

                            Form of Assignment and Assumption Agreement



                         ASSIGNMENT AND ASSUMPTION AGREEMENT


      TIDS ASSIGNMENT AND ASSUMPTION AGREEMENT is made by and between
                           a _ _ _ _ _ _ ___ , having an address c/o CWCapital Asset
Management LLC, 7501 Wisconsin Avenue, Suite 500 West, Bethesda, Maryland 20814 ("Assignor"), and
                                a   ---------~                     having     an   address     of
_ _ __ _ _ _ _ _ _ _ _ _ ("Assignee").

        WHEREAS, Assignor and Assignee entered into that certain Purchase and Sale Agreement
("Agreement") dated _ _ _ _ _ __ _, 20_, for the sale and purchase of certain "Property", consisting
of certain "Real Property" (as more particularly described in Exhibit A), "Personal Property", and
"Intangible Property" (as more particularly described in this Assignment and Assumption Agreement), as
said terms are defined in the Agreement;

         WHEREAS, Assignor desires to quitclaim unto Assignee all of Assignor's right, title and interest
in and to the Intangible Property as hereinafter provided; and

        WHEREAS, Assignee desires to assume the duties and obligations of Assignor with respect to the
Intangible Property.

        NOW, THEREFORE, in accordance with the Agreement and in consideration of the sum of Ten
Dollars ($10.00), the sufficiency and receipt of which are hereby acknowledged, the parties do hereby
covenant and agree as follows and take the following actions:

         1.      Other than any liquor license affecting the property, Assignor does hereby quitclaim unto
Assignee all of the Assignor's right, title and interest in and to the following property to the extent the same
is transferable by Assignor (collectively, "Intangible Property"):

                (a)      other than that certain Dishmachine Lease Agreement by and between Ecolab Inc.
and Commonwealth Lodging Doubletree Hotel, any and all leases, tenancies, licenses and other rights of
occupancy or use of or for any portion of the Real Property or the Personal Property (including all
amendments, renewals and extensions thereof), in effect as of the date of this Assignment and Assumption
Agreement, including but not limited to that certain (i) Vending Service Contract dated November 6, 2013,
by and between Assignor and Fairfield County Vending, and (ii) Satellite Programming License and
Equipment Lease dated October 6, 2011, by and between Assignor's predecessor-in-interest and World
Cinema, Inc. (collectively, "Leases");

                (b)     any and all contracts and agreements of any kind for the maintenance, repair or
operation of the Property ( other than Leases) in effect as of the date of this Assignment and Assumption
Agreement, including but not limited to that certain service agreement dated October 15, 2012 by and
between Assignor and Schindler Elevator Corporation (collectively, "Contracts");




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                 (c)      any and all licenses, permits, authorizations, certificates of occupancy and other
approvals that are in effect as of the date of this Assignment and Assumption Agreement and necessary for
the current use and operation of the Property (collectively, "Permits"); and

                 (d)      any and all warranties, telephone exchange numbers, architectural or engineering
plans and specifications, and development rights that exist as of the date of this Assignment and Assumption
Agreement and relate to the Real Property or the Personal Property (collectively, "General Intangibles");

               (e)    those matters affecting or relating to the title to, or the survey of, the Property
which are of record as of the date of this Assignment and Assumption Agreement (collectively, the
"Permitted Exceptions"); and

                 (f)     the name of the Property, if any.

In addition, if and to the extent required by applicable law, Assignor does hereby quitclaim unto Assignee
all of Assignor's right, title, and interest in and to any and all refundable tenant deposits (and required
interest thereon, if any) in Assignor's possession with respect to the Leases and Contracts as of the date of
this Assignment and Assumption Agreement (collectively, the "Tenants' Deposits"). "Intangible
Property" means the Leases, Contracts, Permitted Exceptions, Permits, General Intangibles, and, if and to
the extent quitclaimed hereunder, Tenants' Deposits.

     2.     THE lNTANGIBLE PROPERTY IS BEING QUITCLAIMED "AS IS", "WHERE IS",
AND "WITH ALL FAULTS" AS OF THE DATE OF THIS ASSIGNMENT AND ASSUMPTION
AGREEMENT, WITHOUT ANY REPRESENTATION OR WARRANTY WHATSOEVER AS TO ITS
CONDITION, FITNESS FOR ANY PARTICULAR PURPOSE, MERCHANTABILITY OR ANY
OTHER WARRANTY, EXPRESS OR IMPLIED. ASSIGNOR SPECIFICALLY DISCLAIMS ANY
WARRANTY, GUARANTY OR REPRESENTATION, ORAL OR WRITTEN, PAST OR PRESENT,
EXPRESS OR IMPLIED, CONCERNING THE INTANGIBLE PROPERTY OR ASSIGNOR'S TITLE
THERETO. ASSIGNEE IS HEREBY THUS ACQUIRING THE INT ANG IBLE PROPERTY BASED
SOLELY UPON ASSIGNEE'S OWN INDEPENDENT INVESTIGATIONS AND INSPECTIONS OF
THAT PROPERTY AND NOT IN RELIANCE UPON ANY lNFORMA TION PROVIDED BY
ASSIGNOR OR ASSIGNOR'S AGENTS OR CONTRACTORS.

         3.       Assignor hereby assigns and transfers to Assignee all claims, demands and causes of action
arising from or related to any environmental injury to the Property that may have occurred or originated
prior to the date of this instrument. Environmental injury means any injury, damage or loss in value to the
Property arising from any spill, leak or release of any hazardous waste, pollutant, oi I or petroleum product,
or other solid, liquid or gaseous substance that is currently or hereinafter listed, regulated or designated by
any state or federal governmental agency as toxic, hazardous or harmful. Assignor makes no
representations or warranties to Assignee as to the existence or viability of any such claims, demands or
causes of action. Assignee indemnifies and holds Assignor harmless for such claims.

         4.       Assignee hereby accepts the foregoing assignment of the Intangible Property and hereby
assumes all duties and obligations of Assignor with respect to (a) the Intangible Property for the period on
and after the date of this Assignment and Assumption Agreement, save and except those relating to
reconciliation of expenses of any kind required under the Intangible Property, which shall be for any time
period, including time periods prior to the date of this Assignment and Assumption Agreement, and (b) any
and all refundable deposits paid by tenants and contractors (and required interest on those deposits, if any)
under the Leases and Contracts as of the date hereof, whether Assignee has received those deposits or
interest or a credit therefore at Closing or not. Assignee shall defend, indemnify and hold harmless Assignor
from and against any and all "Claims" asserted against or incurred by Assignor in connection with (a) any


                                               Schedule 8.1.2
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 acts or omissions, on or after the date of this Assignment and Assumption Agreement, with respect to the
,Intangible Property, save and except those relating to reconciliation of expenses of any kind required under
 the Intangible Property, which shall be for any time period including time periods prior to the date of this
 Assignment and Assumption Agreement, and/or (b) the deposits and interest assumed by Assignee
 hereunder. "Claims" means claims, demands, causes of action, losses, damages, liabilities, judgments,
 costs and expenses (including attorneys' fees, whether suit is instituted or not).

        5.       This Assignment and Assumption Agreement shall be (a) binding upon, and inure to the
benefit of, the parties to this Assignment and Assumption Agreement and their respective heirs, legal
representatives, successors and assigns, and (b) construed in accordance with the laws of the jurisdiction in
which the Real Property is located, without regard to the application of choice of law principles, except to
the extent such laws are superseded by federal law.

                                         [Signature Pages Follow]




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      IN WITNESS WHEREOF, Assignor has signed and delivered this Assignment and Assumption
Agreement as of the _ _ day of _ _ _ _ , 20_ _

                                         ASSIGNOR:


                                         By: _ _ _ _ _ _ __ _ _ _ _ _ _ __
                                         Print Name: _ _ _ _ _ __ _ _ _ _ _ _ __
                                         Title: _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __




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      IN WITNESS WHEREOF, Assignee has signed and delivered this Assignment and Assumption
Agreement as of the _ _ day of _ _ _ _~ 20_ _

                                         ASSIGNEE:


                                         By:_ _ _ _ _ _ _ _ __ _ __ __ _
                                         Print Name: _ _ _ _ _ _ _ __ _ _ _ _ __
                                         Title: _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _




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                                              SCHEDULE 8.1.8

                                             Form of Bill of Sale



                                               BILL OF SALE




         _ _ _ __ _ _ _ _ _ a _ _ _ _ _ ___ . having an address c/o CWCapital Asset
Management LLC, 7501 Wisconsin Avenue, Suite 500 West, Bethesda, Maryland 20814 ("Assignor"), in
accordance with the Purchase and Sale Agreement dated effective _ _ _ _ _ _ . 20                           and in
consideration of the sum of Ten Dollars ($ 10.00) (the sufficiency and receipt of which are hereby
acknowledged), does hereby quitclaim unto _ _ _ _ _ _ __ _ _ _ _ _ _ __ a
_ _ _ _ _ _ _ _ _ _, having an address of _ _ __ _ _ _ _ _ _ _ ("Assignee"), all of
Assignor's right, title and interest in and to all of the furniture, furnishings, fixtures, equipment, the vehicle
identified in Exhibit B hereto, and other tangible personal property that is now affixed to and/or located at
the Real Property described in Exhibit A and used in connection with the management, operation, or repair
of that Real Property (collectively, "Personal Property"). This Bill of Sale does not convey any interest
in any liquor license.

TO HA VE AND TO HOLD the Personal Property unto Assignee and Assignee's heirs, legal
representatives, successors and assigns forever.

THE PERSONAL PROPERTY IS BEING QUITCLAIMED "AS IS", "WHERE IS", AND "WITH ALL
FAULTS" AS OF THE DATE OF THIS BILL OF SALE, WITHOUT ANY REPRESENTATION OR
WARRANTY WHATSOEVER AS TO ITS CONDITION, FITNESS FOR ANY PARTICULAR
PURPOSE MERCHANTABILITY OR ANY OTHER WARRANTY, EXPRESS OR IMPLIED.
ASSIGNOR    SPECIFICALLY   DISCLAIMS    ANY    WARRANTY,     GUARANTY      OR
REPRESENTATION, ORAL OR WRITTEN, PAST OR PRESENT, EXPRESS OR IMPLIED,
CONCERNING THE PERSONAL PROPERTY OR ASSIGNOR'S TITLE THERETO. ASSIGNEE IS
HEREBY THUS ACQUIRING THE PERSONAL PROPERTY BASED SOLELY UPON ASSIGNEE'S
OWN INDEPENDENT INVESTlGATIONS AND INSPECTIONS OF THAT PROPERTY AND NOT IN
RELIANCE UPON ANY INFORMATION PROVIDED BY ASSIGNOR OR ASSIGNOR'S AGENTS
OR CONTRACTORS. ASSIGNOR HAS MADE NO AGREEMENT TO ALTER, REPAIR OR
IMPROVE ANY OF THE PERSONAL PROPERTY.

                                          [Signature Pages Follow/




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       IN WITNESS WHEREOF, Assignor has signed and delivered this Bill of Sale as of the _ _
day of _ _ _ _ _~ 20 .

                                           ASSIGNOR:


                                           By:_ _ _ _ _ _ _ _ _ _ __ _ _ __
                                           Print Name:_ _ _ _ __ _ _ _ _ _ _ _ __
                                           Title:
                                                - - - - - - - - -- - - - - - - -




                                        Schedule 8.1.8
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        IN WITNESS WHEREOF, Assignee has signed and delivered this Bill of Sale as of the _ _
day of _ _ _ _ _ _, 20_.

                                          ASSIGNEE:


                                           By: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _
                                           Print Name: _ _ _ _ _ _ _ _ _ _ _ _ __ _
                                           Title: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _




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                                             SCHEDULE 8.1.9

                                      Form of Tax Proration Agreement



                                  TAX PRORATION AGREEMENT




 DATE OF CLOSING :

 GF.NO.

 PURCHASER:


 SELLER:


 TITLE COMPANY :


 PROPERTY :                       EXHIBIT A




In connection with the closing of the above-captioned property, the undersigned hereby acknowledge and
agree (the "Agreement") to the following facts regarding the real estate taxes and assessments, personal
property taxes, water or sewer charges not based upon consumption, and other governmental charges based
upon the Property (collectively, the "Taxes"):

       (I)     The proration of Taxes on the Date of Closing was based on the following annual amounts:

        a.      Real Property Taxes
                  I   I       I   I                                               $

       b.      Personal Property Taxes
                  I   I   -   I   I                                               $

       TOTAL TAX PRORATION (Credit to Purchaser/Seller):                  $

(2)    We hereby consent to the Taxes being prorated on the above amounts and we understand and agree
       that, Purchaser and Seller shall make no further adjustments or re-prorations of taxes post-closing,
       including but not limited to, personal property taxes, if any, and any taxes related to Seller's
       ownership of the Property, which shall be the liability of Purchaser unless prorated herein.



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(3)   Purchaser agrees to notify all taxing authorities of the change in ownership of the Property to assure
      proper receipt of future tax notices.

(4)   Purchaser and Seller acknowledge and agree that the 2018 net assessment value identified in that
      certain Real Estate Assessment Change Notice dated January 31, 2019 issued by the Department
      of Finance, Office of the Assessor of the City of Norwalk, Connecticut for the Property determines
      the net assessment value for the period commencing upon July 1, 2019 through June 30, 2024,
      unless, subsequent to Closing, Purchaser files a separate appeal during such period. If, as the result
      of such appeal of the assessed valuation of the Property for any real estate tax year including the
      Closing, there is issued after Closing an administrative ruling, judicial decision or settlement by
      which the assessed value of the Property for such tax year is adjusted, Purchaser acknowledges and
      agrees that Seller shall not be responsible for any portion of any costs and expenses incurred by
      Purchaser in connection with such appeal.

(5)   All of the provisions of this Agreement shall be binding upon, and inure to the benefit of, the
      applicable paiiies and their respective heirs, legal representatives, successors and assigns.

(6)   If any provision of this Agreement, or the application thereof to any person or circumstance, shall
      be invalid or unenforceable, at any time or to any extent, then the remainder of this Agreement, or
      the application of such provision to persons or circumstances other than those as to which it is
      invalid or unenforceable, shall not be affected thereby. Each provision of this Agreement shall be
      valid and enforced to the fullest extent permitted by law.

(7)   This Agreement contains the entire agreement between the parties with respect to the proration of
      Taxes at the Property.        There are no promises, agreements, conditions, undertakings,
      understandings, warranties, covenants or representations, oral or written, express or implied,
      between them with respect to the proration of Taxes at the Prope1iy, this Agreement, or the
      transaction described in this Agreement, except as set forth in this Agreement.

(8)   This Agreement may not be modified orally or in any manner, except by an agreement in writing
      signed by Seller and Purchaser (or their respective successors in interest) and, if and to the extent
      Title Company is to be bound thereby, by Title Company.

                                  [SIGNATURE PAGES FOLLOW]




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     IN WITNESS WHEREOF, this Tax Proration Agreement has been signed and delivered as of the
_ _ day of _ _ _ _ _ _, 20_ .

                                           SELLER:

                                           a
                                               - - - - - - - - -- - - - - -
                                           By:
                                           Name:
                                           Title:




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     IN WITNESS WHEREOF, this Tax Proration Agreement has been signed and delivered as of the
_ _ day of _ _ _ _ _ _ , 20_ .

                                           PURCHASER:

                                           a
                                               - - - - - -- -- -- - - - -
                                           By:
                                           Name:
                                           Title:




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                                            SCHEDULE 8.2.5

                                 Form of Certificate of Non-Affiliation



                               CERTIFICATE OF NON-AFFILIATION




        RE:     [Name of Trust]; "[Property Name]", [Property Address] (the "REO Property");
                CWCapital Asset Management LLC Loan No. _ __

        CWCapital Asset Management LLC ("CWCAM") is the Special Servicer of the above referenced
REO Property under the Pooling and Servicing Agreement dated _ _ _ _ _ (the "PSA"), between
_ _ _ _ ___ as Depositor, _ _ _ _ _ _ as Master Servicer, and ______ , as Trustee for the
Registered Holders of _ _ ____ . Capitalized terms used herein and not otherwise defined shall have
the meaning set forth in the PSA.

          In accordance with Section _ _ of the PSA, CWCAM, in its capacity as Special Servicer, intends
to sell the REO Property to _ _ _ _ _ _ __a _ _ _ __ _ _ ("Purchaser"). Purchaser and its
affiliates are not a Certificateholder under the PSA, and further, Purchaser and its affiliates are not the
Trustee, its Affiliates or an Interested Person as those terms are defined in the PSA. Additionally, neither
Purchaser nor any partner, officer, director, shareholder or member of Purchaser or any officer, director,
shareholder, member or partner of any partner, shareholder or member of Purchaser are related to, affiliated
with, or an employee of CWCAM, its representatives or its agents. By execution hereof, Purchaser
represents and warrants the foregoing statements.

                                                  PURCHASER:

                                                  a ____ ___ _________

                                                  By:
                                                  Name:
                                                  Title:
                                                  Date:




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                                            SCHEDULE 8.4.3

                                  Form of Indemnification Agreement



                                 INDEMNIFICATION AGREEMENT



      THIS INDEMNIFICATION AGREEMENT (the "Agreement") is made and entered into this
_ _ _ day of _ _ _ _ __ __. 20_ _, by and between                                ,a
_ _ _ _ _ _ _ __ _ _ _ _ _, having an address of _ _ _ _ _ _ _ _ _ _ ("Seller") and
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , a -- -- - - - - - - - - - ~ having an address of
                     ("Purchaser").
----------
                                              WITNESSETH:

         WHEREAS, Seller and Purchaser entered into that certain Purchase and Sale Agreement dated
effective _ _ _ _ _ _ _ _ _ _ (the "Contract"), for the sale and purchase of the real property located
in Fairfield County, Connecticut, having an address of 789 Connecticut Avenue, Norwalk, Connecticut
06854, which property is also known as the "DoubleTree by Hilton Hotel Norwalk" and is more
particularly described on Exhibit A attached hereto (the "Property");

        WHEREAS, pursuant to Section 8.4 of the Contract, Purchaser acknowledges the Property is
operating as the DoubleTree by Hilton Hotel Norwalk, whose licensor is Hilton Franchise Holding LLC, a
Delaware limited liability company ("Licensor"), under an existing agreement between Seller and Licensor
("Operating Agreement");

       WHEREAS, Seller and Purchaser have agreed to a date of closing of _ _ _ _ _ _ _ _ (the
"Date of Closing") regarding the sale of the Property;

        WHEREAS, as of the Date of Closing Purchaser has failed to secure a long-term operating
agreement (the "Franchise Agreement") between Licensor and Purchaser allowing Purchaser to continue
to operate the Property as the DoubleTree by Hilton Hotel N01walk or other Hilton franchise hotel;

        WHEREAS, to induce Seller to waive as conditions precedent to closing on the sale of the
Property, the receipt of (i) Licensor's consent of sale of the Property pursuant to the terms of the Operating
Agreement and (ii) a release from Licensor of all of Seller's obligations under the Operating Agreement,
and to enable the parties to timely close on the sale of the Property, Purchaser shall indemnify, defend and
hold harmless the Indemnified Parties (defined herein) from and against any and all claims which may arise
against Seller under the Operating Agreement from and after the Date of Closing;

        NOW, THEREFORE, in contemplation of the foregoing and in consideration of the mutual
agreements, covenants, representations and warranties contained herein and in the Contract and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and
intending to be legally bound hereby, the parties hereto agree as follows:

         I.    Indemnified Parties. Purchaser hereby indemnifies, defends, and holds harmless Seller,
Seiier's Sole Member/Manager and Seller's servicers, including but not limited to CWCapital Asset
Management LLC (collectively, the "Indemnified Parties") from and against any and all actual and


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contingent liability, damages, loss, costs or expenses, including, without limitation, reasonable attorneys'
fees and expenses and court costs, incurred by Indemnified Parties as a result of: (a) an act or omission by
Purchaser, its agents, employees or representatives accruing from and after the Date of Closing (the
"Indemnification Period") and giving rise to a claim or demand against the Indemnified Parties under the
Operating Agreement ; (b) any claim of alleged breach by Seller of the Operating Agreement; or (c) any
occurrence giving rise to a claim or demand against Indemnified Parties under the Operating Agreement
involving the Property which occurs during the Indemnification Period, including without limitation any
casualty event at the Property (collectively, the "Indemnity Obligations").

        2.       Claims.

                   2. 1     In the event that any party making a claim or demand shall commence or file any
lawsuit or proceeding (individually or collectively, a "Proceeding") against Indemnified Parties, which
Proceeding is reasonably likely to result in any claim or demand being made under Section 1, then Purchaser
shall either, at its option and within ten (I 0) business days after notice by Indemnified Parties to Purchaser
of the filing or commencement of any such Proceeding:

                        2.1.1    Promptly pay all amounts and otherwise take whatever commercially
reasonable actions necessary to dismiss the Proceeding with prejudice; or

                          2.1.2 Undertake the defense thereof by counsel chosen by Purchaser and
approved by Indemnified Parties (which approval shall not be unreasonably withheld, conditioned or
delayed), in which case Purchaser shall be obligated to contest and/or defend Indemnified Patties against
such Proceeding, at Purchaser's sole cost and expense, and shall keep Indemnified Parties apprised of the
current status of such Proceeding at all times. Regardless of whether Indemnified Parties have counsel
appointed for them as contemplated above or selects independent counsel, Indemnified Parties shall have
the right to participate in the defense of any Proceeding and approve any proposed settlement of such
Proceeding.

                 2.2     Purchaser shall be liable to Indemnified Parties for all reasonable costs and
expenses (including, without limitation, reasonable attorneys' fees, disbursements, and court costs in
connection therewith) actually incurred by the Indemnified Parties in connection with such Proceeding.
Indemnified Parties shall cooperate in all reasonable respects with Purchaser (at Purchaser's sole cost and
expense) in the contest and/or defense of such Proceeding. Indemnified Parties shall promptly send to
Purchaser copies of any material documents received by Indemnified Parties which relate to such
Proceeding. Indemnified Parties (or their agents or representatives) shall have the right but not the
obligation to attend meetings and/or conference calls (including, without limitation, with such parties and
the attorneys and/or representatives retained by Purchaser) and to otherwise monitor any such Proceedings.

                  2.3      Notwithstanding the foregoing: (a) if the joint representation of the Indemnified
Parties (where the Indemnified Parties are specifically named as a party to the applicable Proceeding) will
create either an actual or potential conflict of interest in the defense of a claim which conflict is unreasonable
to waive, including, without limitation, arising under rules of professional responsibility applicable to legal
counsel jointly representing the Indemnified Parties, or material and reasonable divergence of business or
litigation interests among the joint clients with respect to strategies or objectives in defending the claim, or
potential liability exposure in connection with such claim; (b) iflndemnified Parties reasonably determine
that Purchaser does not have the financial wherewithal to satisfy its indemnity obligations in any material
manner; or (c) if Purchaser fails to (i) make one of.the r~quisite elections under either Sections 2.1.1 or
2.1.2 prior to the expiration of such ten busin~ss day period; or (ii) in any way satisfy the foregoing
requirements and obligations of this Section 2, Indemnified Parties shall have the right, at Purchaser's sole
cost and expense, to take whatever commercially reasonable actions are necessary to dismiss the Proceeding


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or to contest and/or defend itself against such Proceeding, provided that Seller shall keep Purchaser apprised
of the current status of such Proceeding at all times.

               2.4      Nothing contained in the foregoing or elsewhere in this Section 2 shall apply to, or
otherwise cause Purchaser to pay for, any costs or expenses, including attorneys' fees, incurred by
Indemnified Parties in connection with any cross-complaint or other claims which may be brought by
Indemnified Parties with respect to the matters which are the subject of any such Proceeding or otherwise.

        3.       Notice. All notices, consents, waivers, and other communications under this Agreement
must be in writing and will be deemed to have been duly given (a) when delivered by hand, (b) when sent
by telecopier, (c) when sent by e-mail delivery to the e-mail addresses set forth below, or (d) one day after
being sent by a nationally recognized overnight delivery service (receipt requested), in each case to the
appropriate addresses or telecopier numbers set forth below (or to such other addresses, e-mail addresses
and telecopier numbers as a party may designate by notice to the other parties):

        If to Seller:
                                  c/o CWCapital Asset Management LLC, Special Servicer
                                  7501 Wisconsin Avenue, Suite 500 West
                                  Bethesda, Maryland 20814
                                  Attn:
                                  Email:

        With a copy to:           Sheppard Mullin Richter & Hampton LLP
                                  2200 Ross A venue, 24 th Floor
                                  Dallas, Texas 75201
                                  Attn: Carolyn R. Benson, Esq.
                                  Phone: (469) 391-7421
                                  Fax:    (469) 391-7565
                                  cbenson{co.shenpardm u11i11 .com


       If to Purchaser:


                                  Attn:
                                  Phone:
                                  Email :


       With a copy to:


                                  Attn:
                                  Phone:
                                  Email:


        4.       Se er.abilitv~ If any provision of this Agreement is held invalid or unenforceable by any
court of competent jurisdiction, the other provisions of this Agreement will remain in full force and effect.
Any provision of this Agreement held invalid or unenforceable only in part or degree will remain in full
force and effect to the extent not held invalid or unenforceable.



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        5.      Governing Law. This Agreement will be governed by the laws of the State of Connecticut
without regard to conflicts of laws principles.

       6.       Counterpa11s. This Agreement may be executed in one or more counterparts, each of
which will be deemed to be an original copy of this Agreement and all of which, when taken together, will
be deemed to constitute one and the same agreement.

        7.      Conjugation and Te1·ms. In this Agreement, the singular shall include the plural, and vice
versa. The use of any gender, tense, or conjugation shall include all genders, tenses, and conjugations.

        8.      Background and Section Beadings. The background is a part of this Agreement. The
headings used in this Agreement are for descriptive purposes only and shall not control or alter the meaning
of the Agreement as set forth in the text.

         9.     Strict Compliance and Waivers. Failure to insist upon strict compliance with any of the
terms, covenants or conditions of this Agreement shall not be deemed a waiver of that term, covenant or
condition or of any other term, covenant or condition of this Agreement. A waiver or relinquishment of
any right or power at any time shall not be deemed a waiver or relinquishment of that right or power at any
other time.

      10.   Jury Trial. EACH PARTY TO THIS AGREEMENT WAIVES HIS RIGHT TO A JURY
TRIAL WITH RESPECT TO ANY ACTION BROUGHT UNDER OR IN CONNECTION WITH THIS
AGREEMENT.

        11.     Amendment. This Agreement may be amended, waived, released or terminated only by
an agreement in writing signed by all of the parties.

        12.     Benefit. This Agreement shall inure to the benefit of the parties, and shall be binding upon
and enforceable against the parties and their respective personal representatives, successors, and assigns.


  SIGNATURE PAGES ATTACHED; REMAINDER OF PAGE INTENTIONALLY LEFT BLANK.




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        IN WITNESS WHEREOF, Seller has caused this instrument to be duly executed and all
applicable seals to be affixed thereto as of the day and year first above written.

                                         SELLER:


                                         a
                                             - - -- - -- - -- - - - - -

                                         By:
                                         Name:
                                         Title:




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        IN WITNESS WHEREOF, Purchaser has caused this instrument to be duly executed and all
applicable seals to be affixed thereto as of the day and year first above written.

                                          PURCHASER:


                                          a
                                              - - - - - - - - -- -- - - -

                                          By:
                                          Name:
                                          Title:




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         THIS AGREEMENT REGARDING DEPOSIT (the ''Agreement"), by and between 789
CONNECTICUT AVENUE HOLDINGS, LLC, a Maryland limited liability company ("Seller''), and
DNA LODGING LLC, a Connecticut limited liability company ("Purchaser"), effective as of the date
last signed.

                                            WITNESSETH:

         WHEREAS, Seller and Purchaser are parties to that certain Purchase and Sale Agreement dated
effective May 3, 2019 (the "Purchase Contract"), with respect to that certain real property having a
street address of 789 Connecticut Avenue, Norwalk, Fairfield County, Connecticut 06854, and more
particularly described in chedulc 1. 1. J of the Purchase Agreement;

         WHEREAS, pursuant to Section 3.6 of the Purchase Contract, on June 11, 2019, Purchaser
tendered written notice to Seller to terminate the Purchase Contract effective as of said date and requested
a return of the full amount of the Initial Deposit; and

       WHEREAS, notwithstanding anything in the Purchase Contract to the contrary, Seller and
Purchaser hereby a!:,rree to the return of the entire Initial Deposit to Purchaser.

       NOW, THEREFORE, in consideration of the foregoing, and in consideration of the mutual
covenants herein contained, the parties hereto agree as follows:

       1.      In orporation of Recitai.s.     The foregoing recitals are specifically incorporated in this
Termination Agreement by this reference.

        2.       Deftnilions. Capitalized tcnns in this Agreement that are not defined in said agreement
shall have the same meaning as in the Purchase Contract.

         3.      Termination of Purchase Contract. Purchaser hereby warrants and represents that
pursuant to Section 3.6 of the Purc haser Contract, Purchaser intended to tennln le the Purchase Contract
effective as of June l l, 20 I 9 via written notice delivered to Seller of the same date, subj ect to any
stir iving right. liabilitic or obligations in accordance with the P-u rchas Comract, cxcepl as othcrwi c
cxpr Jy provided in this Agreement. After due investigation and inquiiy, Purchaser has ratified and
adopted, and hereby ratifies and adopts, nil action hn ing been ta ken by or on beha lf of the Purchaser
under the Purchase Comracl from and after the E ITe~tive Date thereunder.

       4.        Release of Depo,it. Seller and Purchaser hereby ucknowledgc that the Purchase Contro.ct
expre •ly requ ires the return of a portjon of the Initial Deposit in the amount of One Hundred Thousand
and o/ 100 U .S. ooitars (S l 00,000.00), and notwithstanding the Purchase Comrnct Lo th contrary. Seller
and Purchaser agree that the ent ire Init ial Deposit in the amount of T~ o Hundred Thousand and o/ 1 0
U.S . Dollars ($200,000.00) shall be returned to Purchaser. Seller hereby relinquishes all rights and
interest in the full amount of the Initial Deposit.

        5.      Indemnity. In consideration for the release of the full amount of the Initial Deposit.
Pt1rchaser hereby agrees to. forever and fully release Seller, and inclemnify, defend nnd hold SeJler
ham,less. from and against any claim, demand. proceeding. loss, liability. damage. los~ o~ expens
{including reasonable attorney's fees and costs) arising out of or in connection with the tcrmmatton of the
Purchase Contract and if any representations and warranties set forth in this Agreement are not accurnte



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and correct.

         6.      Authoriiy. Purchaser further hereby warrants and represents that the individual signing
this Agreement on behalf of Purchaser is a duly authorized principal and officer of Purchaser and has all
requisite power and authority to bind Purchaser by execution hereof. The Agreement, upon full execution,
is in all respects the legal, valid and binding obligation of Purchaser, as Purchaser thereunder, and is
enforceable against Purchaser in accordance with its terms.

        7.       Proper Execution. This Agreement shall have no binding force and effect on either party
unless and until both Purchaser and Seller have executed aml delivered this Agreement.

         8.       Severability. If any paragraph or provision herein is held invalid by a court of competent
jurisdiction. all other paragraphs or severable provisions of this Agreement shall not be affected thereby,
but shall remain in full force and effect.

       9.      Cqunr~. This Agreement may be executed by electronic mail, fax (if promptly
followed by the original) and in any number of counterparts, each of which shall constitute one and the
same instrument, and either party hereto may execute this Agreement by signing any such counterpart.

                                        [Signature Page Follows]




                                                  Pagel
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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement Regarding Deposit,
effective as of the date last signed.

                                    SELLER:

                                    789 CONNECTICUT AVENUE HOLDINGS, LLC,
                                    a Maryland limited liability company

                                    By:     Wilmington Trust, National Association, as Trustee, for
                                            the benefit of the Holders of COMM 2015-CCRE23
                                            Mortgage Trust, Commercial Mortgage Pass Through
                                            Certificates (the "Trust"), its Sole Member/Manager

                                    By:     CWCapital Asset Management LLC, a Delaware limited
                                            liability c mpany; solely in its capacity as Special
                                            Set'\( e o e      t



                                    By:

                                    Date:




                                                         C,
                                    a Connectic          liability company




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